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                EXHIBIT C8
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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


    IN RE JOHNSON & JOHNSON                           MDL NO. 16-2738 (FLW) (LHG)
    TALCUM POWDER PRODUCTS
    MARKETING, SALES PRACTICES,
    AND PRODUCTS LIABILITY
    LITIGATION

    THIS DOCUMENT RELATES TO ALL CASES




                            RULE 26 EXPERT REPORT OF
                         APRIL ZAMBELLI-WEINER, PHD, MPH




    Date: November 16, 2018
                                         April Zambelli-Weiner, PhD, MPH
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                  Expert Report of April Zambelli-Weiner, Ph.D., M.P.H.

                                   16 November 2018
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    Acronyms and Key Terms

     ACE          American College of Epidemiology

     CDC          Centers for Disease Control and Prevention

     CFR          Code of Federal Regulations

     CI           Confidence Interval

     FDA          Food and Drug Administration

     H&M          Huncharek and Muscat

     IARC         International Agency for Research on Cancer

     J&J          Johnson & Johnson

     M-H          Mantel-Haenszel

     MPH          Master of Public Health

     NIH          National Institutes of Health

     OR           Odds Ratio

     PCPC         Personal Care Products Council

     PRISMA       Preferred Reporting Items for Systematic Reviews and Meta-analyses

     RCT          Randomized Controlled Trial

     ROB          Risk of Bias

     RR           Relative Risk

     TTi          TTi Health Research & Economics




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    1   Qualifications


    My name is April Zambelli-Weiner. I am an Epidemiologist with a PhD in Epidemiology and
    Human Genetics from the Johns Hopkins Bloomberg School of Public Health. I received my
    Bachelor of Arts in Chemistry and English from Washington & Jefferson College and a Master of
    Public Health (MPH) in Epidemiology/Community Health from Saint Louis University. I am the
    President and founder of TTi - Health Research & Economics (TTi). Attached hereto as Appendix
    C is a copy of my current curriculum vitae.

    I am a methodological expert in epidemiology and public health and health care research
    methodology. This includes but is not limited to the design of epidemiological studies, the
    collection and analysis of epidemiological data, the appropriate application of statistical
    methodology to research questions, and evidence synthesis involving analysis and synthesis of
    knowledge from other scientific disciplines such as biology, toxicology, and medicine.

    My expertise is based on my training; my more than 20 years of experience; and my reading,
    mentoring, publishing and work in applied epidemiologic research. My direct epidemiologic
    experience has included a wide range of projects that vary in size, scope and methodology. I have
    participated in the design and implementation of large clinical, population and family-based
    studies, including the collection of primary data in clinical settings and in the field; I have analyzed
    data from large clinical and administrative databases as well as data from national surveys and
    disease registries; I have performed methodological reviews of proposed studies and conducted
    research as part of my routine work for both public and private clients; I have conducted extensive
    literature reviews and routinely perform meta-analyses. I have had the opportunity to participate
    in and lead projects that shape critical health programs and resources at the Federal level, including
    work for the Centers for Disease Control and Prevention (CDC) and the National Institutes of
    Health (NIH). My work has generally focused on diseases and outcomes that impose a substantial
    burden on public health, including chronic diseases such as cancer. Much of my work has involved
    evaluating the efficacy, safety, effectiveness and cost-effectiveness of clinical and public health
    interventions, including drugs, devices, health care services and procedures and public health
    programs.

    My company, TTi Health Research & Economics, is a research and consulting firm serving a
    diverse clientele that includes contracting with federal Health and Human Service Agencies like
    CDC and NIH as well as private entities, including pharmaceutical, medical device and
    biotechnology companies and manufacturers of personal care products. As part of my routine
    work for private clients, I have participated in the design of clinical studies, including post-market
    studies, conducting evidence synthesis, including meta-analysis, and performed evaluations and
    methodological reviews of proposed and conducted research.

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    As an epidemiologist, much of my work has focused on diseases of inflammation. Inflammation
    is known to underlie a wide range of chronic conditions, including cancer, asthma, and diabetes,
    among others. My work over the last 20 years has focused on understanding and preventing
    chronic disease. My company currently holds a five-year contract with the National Center for
    Chronic Disease Prevention and Promotion at the Centers for Disease Control and Prevention
    (CDC) to provide a wide range of services related to epidemiological study design, statistical
    analysis, evaluation of health interventions, health communications and complex modeling, among
    others.


    2    Assignment


    In 2008, Samuel Epstein, MD of the Cancer Prevention Coalition (CPC) filed a Citizens Petition
    with the FDA with respect to talcum powder cosmetic products like Johnson & Johnson’s (J&J)
    Baby Powder and Shower to Shower powder. The CPC requested that the FDA require that a
    warning be added to personal care products containing talc regarding the risk of ovarian cancer.
    In addition to requesting a hearing before the FDA, the CPC requested that the FDA “Immediately
    require that cosmetic talcum powder products bear labels with a prominent warning such as
    ‘Frequent talc application in the female genital area is responsible for major risks of ovarian
    cancer.’” That petition was based primarily on the then existing epidemiologic studies.

    On July 29, 2009 the talcum powder industry, including J&J and Imerys, submitted a report to the
    FDA (vis-à-vis the Personal Care Products Council (PCPC) in response to a Citizens Petition. The
    industry’s report was entitled “Comments on Citizen’s Petition to the Commissioner of the Food
    and Drug Administration Seeking a Cancer Warning on Talc Products” and was authored by Drs.
    Michael Huncharek and Joshua Muscat of Meta-Analysis Research Group. That report was
    provided by industry to the FDA to “provide an independent review of the data.”

    I have been asked to address the methodology of the 2009 Huncharek and Muscat (H&M) Report
    submitted to the FDA and the subsequent 2011 publication and representations made by the
    authors on behalf of the talcum powder industry to FDA and the medical and scientific
    community.1


    3    Summary Opinion


    The 2003 Huncharek Meta-Analysis and 2007 Huncharek Diaphragm study contain substantial
    errors, including misstatements of underlying data, improper calculations, and do not utilize

    1
     I have not been requested to do a full causal assessment of the scientific evidence on talc exposure and risk of
    ovarian cancer.

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    generally accepted methodologies and best practices in epidemiology and meta-analyses rendering
    the findings flawed and unreliable. These studies were heavily relied on by the Talc industry in
    its 2009 submission, written by Drs. Huncharek and Muscat, to FDA in opposition to a Citizen’s
    Petition requesting that an ovarian cancer warning be required on talcum powder products. These
    errors were re-published in a 2011 review paper by Drs. Huncharek and Muscat. Any scientific,
    regulatory or policy deliberations or decisions, including but not limited to those undertaken and
    issued by the FDA, that relied upon the data and analyses put forward by Drs. Huncharek and
    Muscat, in whole or in part, are based on flawed data, calculations and conclusions.


    4    Background Underlying Opinions

    THE 2008 CITIZEN’S PETITION TO THE FDA1

    According to the Code of Federal Regulations (CFR), Title 21 (Food and Drugs), any citizen may
    file a petition requesting FDA to “issue, amend, or revoke a regulation or order, or to take or refrain
    from taking any other form of administrative action.” The petition must follow a particular format
    and, if accepted, is posted online for a review period, during which an interested party may submit
    comments and the FDA may undertake other procedures, such as meetings and conferences, as
    part of the review process. On May 13, 2008 Dr. Samuel Epstein, Chairman of the Cancer
    Prevention Coalition, submitted a petition to the FDA seeking that the FDA “immediately require
    cosmetic talcum powder products to bear labels with a prominent warning such as ‘Frequent talc
    application in the female genital area is responsible for major risks of ovarian cancer’” 1(p2).2 The
    grounds for this request are summarized as follows:

                  12 publications since 1995 confirming the causal relation between genital
                   application of talc and ovarian cancer, and the protective effect of tubal ligation or
                   hysterectomy, preventing the translocation of talc to the ovary;
                  Strength of epidemiology evidence, including a large case-control study 2 and
                   numerous others 3–7 that confirmed the association between perineal talc use and
                   risk of ovarian cancer;
                  An analysis of 16 pooled studies confirming a statistically significant 33%
                   increased risk of ovarian cancer associated with perineal talc use
                  A report by 19 scientists in eight nations worldwide under IARC confirming a 30-
                   60% increased risk of ovarian cancer following the perineal application of talc




    2
     The CPC filed a prior petition on November 17, 1994. As of the date of the 2009 petition, the 1994 petition had
    not been decided.

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 THE 2009 INDUSTRY RESPONSE TO THE CITIZEN’S PETITION8

 In response to the 2008 Citizen’s Petition to the FDA, the Personal Care Products Council
 submitted comments in the form of a report authored by Drs. Michael Huncharek and Joshua
 Muscat of Meta-Analysis Group on July 24, 2009 (hereafter referred to as the 2009 H&M Report).
 The work by Drs. Huncharek and Muscat that is represented in the PCPC response was
 commissioned by Johnson & Johnson (J&J) initially in 2008 and, after edits in meetings with J&J
 and Imerys (Loretz 425:21-426:1), it was decided that this would be submitted on behalf of the
 talc industry by PCPC (Loretz 423:9-424:5). According to Dr. Linda Loretz, Director of Safety
 and Regulatory Toxicology at PCPC, this document would have been sent to the PCPC members
 for approval before submission (Loretz 425:21-426:1). In 2009, PCPC, J&J and Imerys met with
 the FDA Office of Cosmetics and Colors and presented the data included in the response to the
 Citizen’s Petition (Loretz 495:4-510:22)9. The response was then formally submitted to the FDA
 in July 2009. The 2009 H&M Report was the only comment received by the FDA in response to
 the Citizen’s petition3.

 The 2009 H&M Report was subsequently published, in part, in 2011 as a review article in the
 European Journal of Cancer Prevention. That article is entitled “Perineal talc use and ovarian
 cancer risk: A case study of scientific standards in environmental epidemiology,” and discloses
 that the authors were consultants to Johnson & Johnson and Imerys “at the time the initial drafts
 of this manuscript were produced.” At the time of publication, both authors had been retained by
 Johnson & Johnson as expert witnesses in talc litigation (Muscat 283:18-284:12)10.

 Within both the 2009 H&M Report and the subsequent 2011 review article, Drs. Huncharek and
 Muscat rely upon two of their own prior studies to support their opinion that the positive
 association observed between talc and ovarian cancer was non-causal:

           (1) A meta-analysis entitled “Perineal Application of Cosmetic Talc and Risk of Invasive
           Epithelial Ovarian Cancer: A Meta-analysis of 11,933 Subjects from Sixteen Observational
           Studies” published in 2003 in the journal Anticancer Research, hereafter referred to as
           “2003 Huncharek Meta-Analysis”11 and

           (2) A meta-analysis entitled “Use of cosmetic talc on contraceptive diaphragms and risk of
           ovarian cancer: a meta-analysis of nine observational studies” published in 2007 in the
           European Journal of Cancer Prevention, hereafter referred to as “Diaphragm Study.”12

 In fact, these articles and the analyses in them were a primary focus of the arguments advanced by
 the talc industry in opposition to a mandatory cancer warning on talcum powder products.




 3
     https://www.regulations.gov/docket?D=FDA-2008-P-0309

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 THE HUNCHAREK AND MUSCAT ANALYSES

 The accuracy of the 2009 H&M Report and subsequent 2011 review article by Drs. Huncharek
 and Muscat, and their own studies referenced therein (2003 Huncharek Meta-Analysis, 2007
 Diaphragm Study), take on added importance as data on talc exposure and risk of ovarian cancer
 given how they were represented to the FDA and as the sole evidence submitted in opposition to
 the Citizen’s Petition.

 The fact that the 2003 Huncharek Meta-Analysis and the 2007 Diaphragm Study resulted in peer-
 reviewed publications does not preclude the scientific community from undertaking a thorough
 critical review of these papers which, when submitted, influenced important regulatory and policy
 decisions. While these studies are certainly a part of the larger evidence base considered as part of
 a causal assessment, they assumed added importance from a regulatory and policy perspective due
 to the fact that the authors attributed added weight to their own publications and prior conclusions
 as well in advocating them to the FDA in 2009 and the medical and scientific community in 2011.

 Because these articles were given added prominence in regulatory proceedings and in a publication
 by the talc industry, I have been asked to review and assess the validity of data and claims put
 forward by Dr. Michael Huncharek and Dr. Joshua Muscat. My analysis is focused on the 2009
 H&M report to the FDA and the subsequent 2011 publication of that report as well as the following
 papers which precede the report: (1) 2003 Meta-Analysis, (2) 2007 Diaphragm Study.



 5    Methodology


 In reaching the conclusions and opinions set forth in this report regarding Huncharek and Muscat’s
 report and publications, I have had access to publicly available documents as well as some
 produced by Defendants in this litigation, some which were initially provided by Plaintiff’s
 counsel and others I have requested4. The information which I have considered is included in the
 Works Cited. In reaching my opinions, I relied on my more than 20 years of education, training,
 and experience. As set forth below, in performing my review and analysis and formulating my
 opinions for this report, I have reviewed the work product of Drs. Huncharek and Muscat and any
 relevant scientific literature. In doing so I employed methods that are generally accepted by the
 scientific community and performed my review and analysis in the same manner as I do in the
 ordinary course of my work as an epidemiologist. The methodological approaches and


 4
  I requested additional documents relating to the 2003 and 2007 studies by Huncharek and Muscat, that might
 have been in the possession of Dr. Huncharek who I understood did the primary analyses. I was informed that Dr.
 Huncharek has not been made available for deposition and that he claims his documents relating to his work on
 talc were destroyed in a fire.

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 considerations that informed my analysis are discussed below, although this is not an exhaustive
 list.

 5.1   EVALUATION AND INTERPRETATION OF EPIDEMIOLOGIC STUDIES

 Validity and reliability are the keystones of scientific research. Epidemiology specifically is a
 science of measurement, where ensuring accuracy and reliability in research is the cornerstone of
 our profession and the ethical standards by which epidemiologists abide “provide a framework in
 which scientific quality, rigor, and accountability are enhanced and maintained.” 13 Specifically
 the ethics guidelines from the American College of Epidemiology require a commitment to
 adhering to the highest scientific standards:

        Adhering to the highest scientific standards includes choosing an appropriate study design
        for the scientific hypothesis or question to be answered; writing a clear and complete
        protocol for the study; using proper procedures for the collection, transmission, storage,
        and analysis of data; making appropriate interpretations from the data analyses; and
        writing up and disseminating the results of the study in a manner consistent with accepted
        procedures for scientific publication.

 The evaluation of individual epidemiological studies involves an assessment of the reliability and
 internal validity of the study. Reliability is the concept that results must be repeatable; that is,
 other researchers should be able to perform the same experiment or analysis, under the same
 conditions, and generate the same results. Internal validity of a study addresses whether a study
 is able to draw correct conclusions about associative relationships; i.e., “Is the study measuring
 what it is supposed to be measuring?” 14,15. An evaluation of internal validity seeks to determine
 whether observed changes in risk of disease can be attributed to the exposure under study (and/or
 other variables that are controlled for) and not to other possible causes, such as uncontrolled bias.

 Transparency and Reproducibility

 The reliability of scientific findings cannot be evaluated if research is not reported in a transparent
 and reproducible manner. Therefore lack of transparency and reproducibility intrinsically
 compromises and diminishes the quality of research. True replication often does not occur in
 observational epidemiology because, by definition, people and populations are highly variable, so
 creating the same set of conditions is nearly impossible. This is why in the analysis of an
 epidemiological evidence base researchers seek to evaluate consistency, not replication, which is
 the same general result in different scenarios. Meta-analysis, on the other hand, is highly
 amenable to replication. Because meta-analyses have become pivotal to public health, policy and
 health care decision making, guidance exists on the proper reporting of results from such studies,
 one example being the PRISMA guidelines (Preferred Reporting Items for Systematic Reviews
 and Meta-analyses):


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           Systematic reviews and meta-analyses have become increasingly important in health care.
           Clinicians read them to keep up to date with their field and they are often used as a starting
           point for developing clinical practice guidelines…As with all research, the value of a
           systematic review depends on what was done, what was found, and the clarity of reporting.5

 The 2009 paper from the PRISMA group also states: “As is true for all research, systematic reviews
 should be reported fully and transparently to allow readers to assess the strengths and weaknesses
 of the investigation” 16. The importance of transparency and reproducibility in research cannot be
 over-emphasized. A recent peer-review article summarizes the issue well: “In all cases,
 transparency in the methods and results of quantitative syntheses is paramount, as is full
 justiﬁcation of any choices made.” The authors further call for “journal editors and evidence
 synthesis coordinating bodies to ensure that quantitative synthesis methods are adequately reported
 in a transparent and repeatable manner in published systematic reviews.” 17



 Bias

 Bias is defined as systematic error, which can be caused by a variety of flaws in study design,
 study group selection, and methods used to collect the data 14,18. Bias is generally caused by factors
 that create unmeasured differences between the study groups. The major sources of bias include
 information bias (which includes misclassification bias), selection bias, and confounding 14,15,18.
 Information bias may be introduced if the quality and nature of the information elicited from the
 study groups (cases and controls, or exposed and unexposed) is systematically different.
 Misclassification bias may occur if the study subjects in one or both of the study groups are
 systematically misclassified into the wrong group (i.e. case versus control, or exposed versus
 unexposed). In epidemiology, researchers often cannot enroll the entire population; we have to
 take a sample. Selection bias can occur when the sampling of study groups is not representative
 of the entire target population. This can result from the application of different eligibility criteria
 to the cases and controls 14. If sampling is representative of the source, or target, population then
 we can obtain an accurate estimation of the true association. However, if sampling is not
 representative of the exposure-outcome distributions in the overall population, then the measures
 of association will be biased, and this is referred to as selection bias.

 Confounding

 Confounding occurs when a factor is closely associated with both the exposure of interest and the
 outcome of interest, thereby confusing or distorting the effects of the relationship between the
 exposure and the outcome 14,15,18. Otherwise stated, a confounding factor is associated with the
 disease, and is also correlated with the risk factor under study, but is not a result of the risk factor


 5
     http://www.prisma-statement.org/PRISMAStatement/HistoryAndDevelopment

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 under study. The effect of confounding factors may be controlled by several methods, including
 matching of the study groups or subjects to each other based on the confounding factors, or
 statistical adjustment for the effect of confounding factors through stratification or more
 complicated methods of statistical analysis such as conditional logistic regression 14. Risk
 estimates that have taken into account potential confounders are often presented as “adjusted.”

 5.2   META-ANALYSIS OF OBSERVATIONAL EPIDEMIOLOGICAL STUDIES

 A meta-analysis is the aggregation of data and statistics from previously conducted studies through
 the use of statistical procedures to create a single summary estimate. In a meta-analysis, the unit
 of analysis is one study and in order to calculate a summary estimate of association, all studies are
 usually statistically weighted. Meta-analysis typically does not involve the procurement of new
 data, but relies upon abstraction and synthesis of data reported in published studies and reports.
 Data abstraction is one of the most important steps in conducting a meta-analysis and its accuracy
 is paramount to the validity of the analysis. If data is misrepresented from the original studies, the
 entire analysis is compromised.

 Meta-analysis can be an appropriate tool to assist in evaluating the epidemiologic evidence base
 in situations where there are multiple studies with small sample sizes and/or low statistical power
 19
    . With the inclusion of multiple studies, a meta-analysis can assist in enhancing statistical power
 and correspondingly the precision of results. Meta-analysis, however, can also seriously mislead
 when applied indiscriminately and without consideration of the component studies’ designs,
 variations, and biases 20,21.

 Meta-analyses of observational studies have special concerns as compared to meta-analyses of
 RCTs. The inherent biases in observational studies, such as confounding bias, and differences in
 study populations and methodologies elevate the importance of thorough qualitative review of the
 studies, evaluation of the appropriateness of meta-analysis, development of clear inclusion and
 exclusion criteria that serve the ultimate research question, and careful consideration of sources of
 heterogeneity across studies that may conflate rather than clarify the research question.

 Confounding bias is one of the most important risks to observational studies 20. Well-conducted
 epidemiological studies will control for confounding at the design phase (matching) or the analytic
 phase (multivariate modeling). Combining studies that do not control for confounding introduces
 a known source of bias and heterogeneity into the data.

 Heterogeneity in Meta-Analysis
 Because meta-analysis is a tool for combining data across studies, consideration of between-study
 heterogeneity – and sources thereof – is important to appropriate interpretation of findings 20.
 Heterogeneity in meta-analysis is defined as any kind of variability among studies 20. Variability
 in the patient populations, the study designs, and the way the exposure and outcome are measured,
 among others, can lead to differences in the risk estimates across studies.

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 Observational epidemiological studies differ fundamentally from randomized controlled trials in
 that they are natural experiments: events are observed as they occur in the real-world, not in highly
 monitored environments. Because of this, observational epidemiological studies addressing the
 same research question can vary greatly in the populations being studied and can exhibit
 inconsistencies in study methods, such as how the exposure and outcome are measured, or defined,
 and the types of statistical analyses that are conducted (and therefore the results that are presented),
 among others.

  In fact, part of the process of evidence synthesis is an assessment as to whether a quantitative
 pooling of data, such as meta-analysis, is the best approach given the available studies. An in-
 depth qualitative review of the individual studies may provide sufficient information to conclude
 that a meta-analysis of all studies may not be useful or, if conducted, should be interpreted with
 caution. Such a review should consider the individual study designs and the extent to which they
 minimize bias and confounding. Alternatively, initial meta-analysis may demonstrate significant
 heterogeneity across studies. Specifically, statistics that are calculated as part of a meta-analysis
 measure heterogeneity and may reveal that the studies are not similar enough, such that simply
 combining them may not be the best approach.

 Measuring Heterogeneity. There are different statistics that can be used to assess heterogeneity in
 a meta-analysis. The I-squared statistic is one of the most common measures of heterogeneity and
 provides an estimate of the percent of the variability in effect estimates that is due to heterogeneity
 between studies rather than sampling error (i.e., chance) 20. I-squared values range from 0% to
 100% and increasing I-squared values correspond to increasing heterogeneity between studies 22.
 An I2 of 50% or greater is the threshold for significant heterogeneity 20.

 Strategies for Dealing with Heterogeneity. There are numerous ways to attempt to address
 heterogeneity in a meta-analysis including: exclusion of studies, use of a random effects meta-
 analysis and conduct of sensitivity analyses to explore sources of heterogeneity 20. Studies may
 be excluded from meta-analyses when they do not meet the specified inclusion and exclusion
 criteria or when there is clinical or methodological diversity. Random effects models provide a
 statistical tool to address between study heterogeneity in the way the confidence limits of the
 pooled estimate are calculated. Sensitivity analyses, including subgroup analyses, are used to
 explore potential sources of heterogeneity and to check the robustness of the primary findings to
 key methodological decisions.

 Sensitivity Analyses
 Sensitivity analyses are routinely conducted as part of clinical and epidemiological research 23,24.
 The general purpose of conducting sensitivity analyses is to evaluate the robustness of the study’s
 findings to important methodological decisions that can potentially influence the results 20.
 Subgroup analyses are a type of sensitivity analysis intended to assess whether the effect estimate

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 is similar across specified groups of subjects or studies. Subgroup analyses reduce the evidence
 base to meaningful subgroups and pool data across those subgroups to examine potential
 differences in effects and to explore potential sources of heterogeneity. Sensitivity analyses are
 contextually specific, meaning they will vary based on the research question, the type of studies
 contributing to the evidence base, and the key methodological issues within a particular evidence
 base.


 6    Analysis


 6.1 HUNCHAREK ET AL. 2003 (HUNCHAREK META-ANALYSIS)
 In 2003, a meta-analysis study by Huncharek, Geshwind and Kupelnick entitled “Perineal
 Application of Cosmetic Talc and Risk of Invasive Epithelial Ovarian Cancer: A Meta-analysis of
 11,933 Subjects from Sixteen Observational Studies” was published in Anticancer Research. 6
 The paper’s stated objective was to employ meta-analysis to “evaluate this suspected association.”
 The paper claims to use meta-analytic techniques described in a 1996 paper by Sander Greenland7
 to conduct three analyses that are repeatedly referenced by Drs. Huncharek and Muscat in the
 papers and report that follow this 2003 study: (1) an overall meta-analysis of the available
 epidemiological studies2,3,25–38; (2) a dose-response analysis3,25–28,31,33,35,36, and (3) a subgroup
 meta-analysis that examines heterogeneity by type of controls in case-control studies (i.e., hospital-
 based versus population-based).

 My critical review of this paper revealed a significant number of both superficial and substantive
 errors, methodological concerns, and a lack of transparency in both methods and reporting that
 calls into question the accuracy, validity and reliability of the results of this study.

     1) Errors in 2003 Huncharek Meta-Analysis Paper
 A thorough review of the Huncharek 2003 paper revealed a concerning number of errors – both
 superficial (typographical and grammatical) and substantive – which undermine the reliability of
 this study. Most serious of these errors is that data from the original studies, upon which the
 authors then rely, was incorrectly abstracted for five out of the nine studies listed in Table II of the




 6
   It is my understanding that this meta-analysis was proposed to J&J in October 2000 (JNJ000017587) and that the
 “Preliminary Results” of this study were sent to J&J in November 2000 (JNJ000017613). It is also my understanding
 that J&J employees made comments to this preliminary draft (JNJ000377405).
 7
   This appears to be a reference error in the Huncharek 2003 publication; the Greenland article listed in its
 reference list was actually published in 1987, not 1996. This is one of several such errors in this paper. See
 Footnote 8 below.



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 2003 Huncharek Meta-Analysis paper. A list of substantive errors is provided in Table 1 of this
 report (below)8.

     Table 1. Errors Identified in Huncharek et al. 2003

                                                                                                     Location of
                  Excerpt with Error‡                              Error Explanation
                                                                                                        Error

     “Literature retrieval was performed by              Incorrect reference                       Pg. 1956;
     previously described methods (8).”                                                            Paragraph 2;
                                                         No literature retrieval methods           Lines 1-2
                                                         discussed in reference 8; therefore
                                                         no method provided/substantiated
                                                         (can’t be replicated).

                                                         Reporting error                           Pg. 1956;
                                                                                                   Results
                                                         Says Hankinson was included in the        Section;
                                                         meta-analysis, and Gertig is              Paragraph 1;
                                                         removed. However, Hankinson is
                                                                                                   Lines 3-7
                                                         not in Table I of Huncharek, while
                                                         Gertig is in Table I.

     Categories of talc application per month:           Incorrect/missing exposure                Table II,
                                                         categories                                Reference 5

                                                         Booth et al, 1989 reports talc
                                                         application in categories of “Never,
                                                         Rarely, Monthly, Weekly, and
                                                         Daily”. Table II in Huncharek does
                                                         not report the lowest exposure
                                                         category of Rarely or <1x, OR=0.9
                                                         (0.3-2.4).




 8
   A number of typographical and grammatical errors were also found, which can and do occur in research
 publications; however the number of errors identified in this paper raise concerns about the rigor of the authors
 quality control procedures and the editorial review process for this journal. For example, published is spelled
 incorrectly on page 1955; heterogeneity is spelled incorrectly on page 1957; there is incorrect subject verb
 agreements on page 1958.

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                                      Incorrect/missing exposure                Table II,
                                      categories                                Reference 8

                                      Cook et al, 1997 reports exposure
                                      categories by lifetime days,
                                      categories do not overlap.
                                      Huncharek exposure categories
                                      overlap, and categories are
                                      rounded incorrectly if you
                                      extrapolate lifetime days to years.

                                      Incorrect/missing exposure                Table II,
                                      categories                                Reference 10

                                      Not all exposure categories are
                                      reported.

                                      Those missing from the Gertig et al,
                                      2000 article include: Never and
                                      <1x/week, which had RRs/CIs of 1.0
                                      (reference) and 1.14 (0.81-1.59),
                                      respectively.

                                      Wrong reporting of data from              Table II,
                                      original studies.                         Reference 6

                                      In Chang et al, 1997 >40 OR is 0.865
                                      not 0.96; <30 upper CI is actually
                                      2.64 not 2.68.

                                      Inaccurate reporting of data from         Table II,
                                      original studies.                         Reference 8

                                      Highlighted CI is actually (0.6-2.4) in
                                      Cook et al, 1997



                                      Ness et al, 2000 exposures listed in      Table II,
                                      meta-analysis for perineal talc           Reference 15
                                      exposure actually include talc
                                      application to feet.




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                                                    Wrong reference citation                  Pg. 1960;
                                                                                              Reference 4
                                                    This article was published in 1987,
                                                    not 1996. In the 2007 paper it’s
                                                    cited as 1985 in the reference list.




  “Seven studies included dose-response data        Inaccurate reporting                      Pg. 1958;
  stratified by number of talc application to the                                             Paragraph 2;
  perineum per month (Table II).”                   In Table II, only six studies (not        Lines 1-3 and
                                                    seven) list dose-response data
                                                                                              Table II
                                                    stratified by talc application per
                                                    month.

                                                    Inaccurate reporting of data from         Table II,
                                                    original studies                          Reference 9

                                                    All of the risk estimates from the
                                                    Cramer et al. 1999 paper have been
                                                    rounded, without explanation. For
                                                    example, original paper has an
                                                    additional significant digit (e.g., <30
                                                    RR is 2.21 vs. 2.2 reported in the
                                                    Huncharek paper).

  ‡Errors from the Huncharek 2003 Meta-Analysis are abstracted and highlighted in yellow for ease of
  review.



 As discussed in Section 5.1 of this report, careful and accurate abstraction of data from the original
 studies underlying a meta-analysis is paramount to the validity of the meta-analysis. Because
 meta-analysis involves weighting of the data from the underlying studies, even small errors in
 abstraction can become amplified, particularly if a study is given more weight.

 In his deposition, Dr. Muscat was asked about the data abstraction errors in Table II from the 2003
 Dose Response Meta-Analysis, as reported above in Table 1 of this report. Although he claimed
 to not have performed this analysis himself (it was done by Dr. Huncharek), Dr. Muscat suggested
 that the discrepancy between the data reported in the original papers and the data ascribed to those
 papers in the Huncharek article was as follows: the original papers reported adjusted risk estimates
 (i.e., control for confounding) and the Huncharek analysis used unadjusted estimates (i.e., no

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 control for confounding). As example, in his deposition, Dr. Muscat specifically discussed the
 error in the data abstracted from the Cook 1997 paper, whereby the upper limit of the confidence
 interval for the exposure category of 13.5-27 years of talc use is incorrectly reported as 3.4 instead
 of 2.4. When asked if this was a mistake, Dr. Muscat replied:

        That’s not a mistake. The meta-analysis was based on unadjusted. If there are
        differences, that’s probably the reason why, because the meta-analysis technique is based
        upon the – the unadjusted numbers rather than the adjusted published numbers (Muscat
        478:12-479:2).

 In consideration of this possibility, unadjusted risk estimates were calculated and they still do not
 match [See Appendix B]. In fact, the unadjusted risk estimate and 95% confidence interval for the
 Cook 1997 paper is 1.59 (0.84-2.98) – not even close to the values used in the Huncharek 2003
 Meta-Analysis. The importance of this is that many of the numbers reported in Table II of the
 Huncharek 2003 Dose-Response Meta-Analysis are neither the correct adjusted numbers from the
 original study nor unadjusted estimates as claimed. The table in Appendix B clearly demonstrates
 that not a single value reported in the 2003 Huncharek Meta-Analysis Table II is an unadjusted
 value, as described by Dr. Muscat. Further, if unadjusted estimates were used the authors should
 have described this explicitly in the paper. Instead, the paper’s methods describe use of adjusted
 measures and report adjusted measures in both Tables I and II:

        Because the variance estimates are based on adjusted measures of effect and on the 95%
        confidence interval for the adjusted measure, the confidence interval methods do not
        ignore confounding and are the preferred methodology for observational data
        (Huncharek 2003, p1956; emphasis added.


 Inaccuracy and misrepresentation are considered violations of generally accepted standards of
 research. The implications of the numerous substantive errors and omissions in the 2003
 Huncharek Meta-Analysis is that the results are unreliable.



    2) Lack of Replication – 2003 Huncharek Meta-Analysis


 In their 2003 paper, Drs. Huncharek and Muscat claim that their calculations suggest an inverse
 dose-repose relationship which argued against a causal inference since they reported that a higher
 risk was reported with the lowest dose exposure category and lower risk was associated with the
 highest dose exposure category. Specifically, they report the following summary risk estimates
 for their dose-response analysis, derived from data in Table II of their study:

                Lowest Exposure Category: 1.83 (1.55-2.15)
                Highest Exposure Category: 1.21 (1.00-1.45)
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 Aside from using the incorrect data from the underlying studies as detailed in Section 6.1.1, the
 exposure category numbers above cannot be replicated. Table 2 of this report (below) shows the
 results of attempted replication of the numbers above based on the methods as described in the
 2003 Huncharek Meta-Analysis and in deposition 10.

 The following conclusions can be reached from the data in Table 2 below:

    1) No method produces a summary risk estimate of 1.83 for the lowest exposure category;

    2) The model that most closely approximates the summary risk estimate of 1.21 for the
       highest exposure category involves mixing measures of frequency and duration, which is
       neither generally accepted methodology nor what the authors describe in their manuscript
       and in deposition;

    3) When a standard statistical software package is utilized for the meta-analysis the inverse
       dose-response relationship claimed by the authors nearly disappears, with the adjusted
       data for the number of talc applications per month actually showing data suggesting a
       positive dose response.




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  Table 2. Lack of Replication of Dose-Response Analysis from Huncharek et al. 2003

                                 HUNCHAREK AND                  GREENLAND METHOD                      FIXED EFFECTS
                                 MUSCAT METHOD                       (Manual)                            (Stata)‡
                                     (Manual)
  Analysis         Studies    Pooled OR, Pooled OR,          Pooled OR,        Pooled OR,       Pooled OR,     Pooled OR,
                  included      95% CI      95% CI             95% CI            95% CI           95% CI         95% CI
                     (n)        Lowest     Highest             Lowest            Highest          Lowest         Highest
                               Exposure   Exposure            Exposure          Exposure         Exposure       Exposure
                              Category+ Category++           Category+         Category++       Category+      Category++
  Mixed
  exposure
  Unadjusted         9            1.37           1.24            1.37              1.24             1.17           1.18
                              (1.05-1.69)    (1.01-1.48)     (1.21-1.53)       (1.13-1.36)      (0.97-1.37)    (1.04-1.32)

  Adjusted                        1.38           1.21            1.38              1.21             1.18           1.14
                              (1.05-1.71)    (0.96-1.45)     (1.21-1.55)       (1.08-1.33)      (0.96-1.40)    (1.00-1.28)
  Applications
  /month
  Unadjusted         6            1.38           1.24            1.35              1.40             1.15           1.19
                              (1.01-1.76)    (0.90-1.58)     (0.96-1.74)       (1.03-1.77)      (0.92-1.39)    (0.97-1.40)

  Adjusted                        1.42           1.27            1.42              1.34             1.22           1.20
                              (1.03-1.80)    (0.92-1.63)     (1.22-1.61)       (1.16-1.51)      (0.96-1.48)    (0.98-1.42)
  Years of talc
  use
  Unadjusted         7            1.47           1.24            1.47              1.28             1.35           1.16
                              (1.08-1.85)    (0.98-1.50)     (1.08-1.86)       (0.96-1.60)      (1.07-1.63)    (1.00-1.31)

  Adjusted                        1.52           1.18            1.52              1.18             1.34           1.11
                              (1.11-1.92)    (0.90-1.45)     (1.32-1.72)       (1.04-1.31)      (1.04-1.63)    (0.95-1.26)
  ‡Mantel-Haenszel
  + Compare to 1.83 (1.55-2.15) as reported in Huncharek 2003
  ++ Compare to 1.21 (1.00-1.45) as reported in Huncharek 2003

  Methods Summary: Meta-analytic techniques were employed in an attempt to replicate the dose-response analysis
  derived from Table 2 of the Huncharek 2003 paper. Numbers presented in Table 2 were used as reported, despite known
  errors, given the goal of replicating the analysis presented in the paper. Given the limited description of their methods,
  coupled with possible discrepancies revealed in the deposition of Dr. Muscat, three different exposure permutations were
  considered (mixing measures of frequency and duration; just studies that examined frequency; and just studies that
  examined duration). Analyses were also run using both unadjusted and adjusted risk estimates. Three different models
  were considered: (1) the inverse-variance method described by Huncharek and colleagues in their 2003 paper, (2) the
  Greenland method cited by the authors and (3) the Mantel-Haenszel (M-H) fixed effects method, which is the default
  fixed effect method in Stata and in RevMan, used by the Cochrane Collaboration 39.




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 Clearly the stated methods were not properly employed or the same result would have been
 obtained using the data as reported in their Table II.

 Not only are the numbers incorrectly abstracted from the original studies and the stated methods
 not properly employed, the choice to employ an inverse variance approach and to execute it by
 hand (Muscat Deposition: 95.1-2), despite the complexity of the calculations that necessitate the
 use of computer software, is questionable on multiple levels. Statistical packages for meta-analysis
 were widely available and in use at the time of these analyses. Doing such an analysis by hand
 leads not only to errors, but to lack of transparency and reproducibility concerns.
 Methodologically, it has been well known in the field of epidemiology since the 1980’s (if not
 earlier) that there are more appropriate, generally acceptable methods for arriving at a pooled,
 summary risk estimate when sample sizes are small, as is the case here (in the individual exposure
 strata across many of the studies used in the Huncharek 2003 dose-response analysis).

 In his deposition, Muscat states that the dose-response analysis presented in Table II was based on
 the frequency per month measure. Interestingly, when a standard statistical package is used to
 replicate that analysis, the results for the frequency per month measure change appreciably,
 including demonstrating increasing risk with increasing exposure for the analysis using talc
 applications per month, the opposite of the conclusions drawn by Huncharek and Muscat.

 The analyses presented in Table 2 of this report demonstrate that the dose-response results
 presented in the Huncharek 2003 paper cannot be replicated based on the data and methods
 reported in their paper, further reinforcing the lack of validity and reliability of these analyses.
 Despite this, and as described further in the report, this data was reasserted to the FDA in 2009 in
 opposition to a required warning of the potential risk of ovarian cancer and republished to the
 scientific and medical community in 2011.

     3) Other Methodological Concerns
 Even if Huncharek and Muscat had executed their dose-response analysis properly and without
 errors, the entire dose-response methodology is inappropriate and unreliable. A close examination
 of their analysis reveals a number of methodological errors that undermine their assertion of an
 inverse dose-response.

 On page 1958 of the 2003 article, the authors state that “exposure categories must be roughly
 similar in order to make valid comparisons across studies.” Looking at the dose-response analysis
 categories, there is overlap between what can fall into the “lowest” exposure categories and the
 “highest” exposure categories. As example, if an individual had an exposure of 24 applications
 per month they would fall into the lowest exposure category for two of the studies and the highest
 exposure category for one of the studies. Having the same levels of exposure in both the lowest
 and highest exposure categories of a dose-response analysis is completely invalid and would most
 definitely yield a nonsensical result, as the authors indicate when they state “the available data
 seem to indicate an inverse dose-response relationship which is counter-intuitive.”

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 In addition, attempted replication of this analysis shows that the exposure categories of duration
 (years of talc use) and frequency (# applications per month) were likely mixed together9 (See Table
 2 of this report, above), another significant methodological deficiency. The entire objective of
 meta-analysis is to bring clarity to a research question by combining “like with like.” Mixing
 together different measures of exposure, in this case “frequency” and “duration,” violates that
 primary objective and the assumptions of meta-analysis. In combining two different exposure
 categories the authors concluded there was an inverse dose-response relationship when they could
 make no such assertion based upon the analyses they performed.



     4) Unsupported Claims of Bias from Uncontrolled Confounding
 In the 2003 Huncharek Meta-Analysis, the authors found a “statistically significant result
 suggesting 33% increased risk of ovarian cancer with perineal talc use.” Nevertheless, the authors
 assert that “uncontrolled confounding” may explain the consistent positive association seen in the
 epidemiological evidence base on talc and ovarian cancer. In fact, confounding is mentioned six
 times in the paper, with five of the six being hypothetical statements:

              1) Uncontrolled confounding may result in a spurious positive association between
                 talc and ovarian cancer (abstract).
              2) Uncontrolled confounding may account for the positive associations seen in prior
                 epidemiological studies (abstract).
              3) Serious questions remain regarding the validity of this finding, including…the
                 possible presence of uncontrolled confounding producing a spurious positive
                 association (p1955).
              4) The summary relative risk may in fact be spurious due to bias or uncontrolled
                 confounding (p1958).
              5) If meta-analyses show that the patterns of low relative risk or odds ratios are
                 elevated across all relevant studies in different populations, these weak
                 associations are less likely to be due to study bias or uncontrolled confounding.
                 Nonetheless, even in this instance, if a bias affects all studies in the same manner,
                 an association may be shown although the finding is spurious (p1960).


 Apart from raising the question, the authors provided no substantive evidence or discussion of the
 plausible role of uncontrolled confounding in their analysis or the larger evidence base. Based
 upon their description of their methods it appears that they do not evaluate and/or discuss what the
 important confounders are to the talc-ovarian cancer research question; they do not assess the



 9
  I say likely because the authors do not adequately describe their methods in a clear and transparent way so a
 reviewer can be certain of what analyses they did. That said, running all possible permutations based on the data
 provided in their paper, the only model that yields a result similar to what they report involves mixing data on
 frequency and duration.

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 adequacy of control for confounding at the individual study-level, nor do they specify any
 consideration whatsoever of confounding in their meta-analytic protocol.

 The authors do not provide any empirical evidence to support their assertion that
 uncontrolled confounding may explain the observed positive association between talc
 exposure and ovarian cancer.

 As indicated previously, five of the six mentions of confounding have no reference or supporting
 data. The sixth mention of confounding is in the methods on p 1956 of the 2003 Huncharek Meta-
 Analysis paper:

            This meta-analysis method is a general variance-based method employing confidence
            intervals. Because the variance estimates are based on adjusted measures of effect and on
            the 95% confidence interval for the adjusted measure, the confidence interval methods do
            not ignore confounding and are the preferred methodology for observational data.
            (Emphasis added)

 Despite the stated importance of controlling for confounding according to the methods written in
 the 2003 Huncharek Meta-Analysis paper, the authors later contradict this assertion, in both their
 2009 response to the FDA Citizen’s Petition and in deposition, stating that using unadjusted risk
 estimates (with no control for confounding) would be the appropriate methodology.

 The advancement of unsubstantiated claims is a violation of research standards. As example, the
 influential medical journal Cancer Medicine advises researchers in their standards for publication
 of research under the section “Editorial Policies and Ethical Considerations:” Cancer
 Medicine accepts papers that are relevant to our readership and reflect valid science i.e.
 conclusions drawn need to be substantiated by the data10. In this case, the Huncharek and Muscat
 conclusions that depend on upon unsubstantiated claims of uncontrolled confounding were invalid
 and unreliable.

     5) Unsubstantiated Claims of Selection Bias & Disregard of Non-Supportive Findings
 Similar to the confounding issue above, Huncharek and Muscat offer unsubstantiated claims of
 selection bias to explain away the positive association between talc and ovarian cancer. In
 scientific research, unsubstantiated claims are invalid and should not be relied upon. As cited in
 CFR Title 21, Food and Drugs, Chapter 1 Food and Drug Administration, Section 860.7
 “Determination of Safety and Effectiveness11:”

            Reports lacking sufficient details to permit scientific evaluation, and unsubstantiated
            opinions are not regarded as valid scientific evidence to show safety or effectiveness.



 10
      https://onlinelibrary.wiley.com/page/journal/20457634/homepage/forauthors.html
 11
      https://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfCFR/CFRSearch.cfm?FR=860.7

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 On page 1959 of their 2003 paper, Huncharek and colleagues state:

        One possible explanation of the potentially spurious positive association between talc use
        and ovarian cancer risk is the existence of a “treatment effect” among cases… Some
        patients with ovarian cancer will undergo treatment with radiation, chemotherapy and/or
        surgery. Side-effects from treatment may prompt talc use among some patients.

 While a “treatment effect,” also referred to as reverse causation by some, is plausible, the authors
 again provide no substantive evidence or discussion to support this supposition. Huncharek and
 Muscat later go on to admit that there is no basis for such an effect in the literature in their 2009
 Response to the FDA:

        Compared with controls, ovarian cancer patients report a multitude of symptoms
        including pain, abdominal bloating and urinary frequency…These factors could
        contribute to a detection bias where ovarian cancer symptoms could prompt short-term
        talc use. Although this suggestion is theoretically possible, it has not been addressed in
        the literature in the context of the talc/ovarian cancer hypothesis (p16).

 The authors also single out this possible bias as a way to explain the consistently observed positive
 association, omitting a discussion of the implications of such a treatment effect in the hospital-
 based case-control studies, which they continually rely upon as evidence against a causal
 association. By definition, hospital-based case-control studies utilize control patients who are sick.
 Pain, abdominal bloating and urinary frequency are not symptoms that are limited to ovarian
 cancer. All of these symptoms are exhibited by patients with other conditions – and other cancers
 specifically. In the Wong 1999 study 25, over 80% of the control population consisted of patients
 with gastrointestinal cancers and skin cancers – both of which could prompt short-term talc use.
 Similarly, the control group in the Booth 1989 study26 included patients with urinary disease, skin
 disease, gastrointestinal cancers, hemorrhoids, and other disorders with symptoms relating to the
 gastrointestinal tract and urinary system. If control patients had a higher probability of using talc
 due to the symptoms of their condition or due to treatment, the net effect of this would be to bias
 the risk estimate to the null (no association). This is one possible explanation for the attenuated
 risk estimates observed in the hospital-based case control studies. So while the authors raise the
 possibility of a treatment effect, they unfortunately present an imbalanced discussion of the
 potential impact to this evidence base. Furthermore, and perhaps more importantly, they continue
 to rely upon the purported difference in risk estimates between population and hospital-based case-
 control studies as undermining a causal association, without ever considering counter-factual
 explanations for the observed difference – including the implications of their own theory of a
 “treatment effect.”

     6) Conclusion
 Numerous significant errors, including substantive errors that speak to the very core of a valid and
 reliable meta-analysis, undermine the findings and conclusions from this study—particularly with

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 respect to dose-response assertions which are repeatedly relied upon by the study authors, asserted
 to regulatory agencies and disseminated to the medical and scientific community. Utilizing the
 methods and data described by the authors, their results cannot be replicated, raising serious
 questions about the scientific integrity of the study. Utilizing generally accepted methods, the
 analyses produce significantly different results that refute their position that the association
 between talc use and risk of ovarian cancer is non-causal. Ultimately, Huncharek and colleagues
 present an unreliable analysis, including the dose-response data, that is both repeated and relied
 upon in the 2009 H&M Report to the FDA opposing a required label change for talcum powder
 products, and again republished in their 2011 paper.


 6.2   HUNCHAREK ET AL. 2007 (DIAPHRAGM STUDY)


 In 2007, Drs. Huncharek, Muscat and others published a paper in the European Journal of Cancer
 Prevention entitled “Use of cosmetic talc on contraceptive diaphragms and risk of ovarian cancer:
 a meta-analysis of nine observational studies” (Diaphragm Study). This study was funded by a
 grant from Johnson & Johnson and Imerys 12.

 The objective of the 2007 Diaphragm Study was to address the talc-ovarian cancer research
 question with better precision and validity by restricting the exposure definition to a route of
 exposure (i.e., diaphragms) that would allegedly bring the talc in closer proximity to the target
 organ system. As the authors stated, “the talc-ovarian cancer hypothesis could be tested with better
 precision and validity if the exposure to the suspected carcinogen was directly to the reproductive
 tract” (Huncharek 2007, p. 423).

 The primary analysis of nine studies26–33,41 reports a summary relative risk of 1.02 (95% CI, 0.80-
 1.33). The authors conduct several sensitivity analyses whereby particular studies are dropped
 from the analysis based on various criteria. The results of the sensitivity analyses present a range
 of risk estimates (0.67-1.15), of which all of the 95% confidence intervals included the null value.
 The authors conclude that, “our present report, along with our prior meta-analysis pooling data
 from studies examining the possible ovarian cancer risk associated with perineal talc dusting does
 not provide evidence of a causal relationship.”

 As with the 2003 Huncharek Meta-Analysis, my critical review of this paper revealed a significant
 number of both superficial and substantive errors, methodological concerns, and a lack of
 transparency in both methods and reporting that calls into question the accuracy, validity and
 reliability of the results of this study.

    1) Significant Errors in Huncharek 2007 Diaphragm Study
 Similar to the Huncharek 2003 paper, a thorough review of the Huncharek 2007 paper revealed a
 concerning number of errors which undermine the validity of this study. Most serious from a


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 methodological standpoint is the inaccurate reporting and calculations from the original studies.
 These objective errors undermine the validity and reliability of this study.

 A few examples of objective error include:

         The authors state on page 424 “Table 1 provides an overview of the nine reports included
          in the meta-analysis” and list Richardson et al (1985) as one of the nine studies; Richardson
          does not appear in Table 1 nor in any other table or figure in the paper.

         In Table 1, Huncharek 2007, the authors list the following odds ratio and 95% CI for the
          Booth study: 0.75 (0.85-2.02). This OR and 95% CI do not appear anywhere in the Booth
          study. Furthermore, this is not a valid confidence interval. The lower bound of the
          confidence interval cannot exceed the point estimate12.

 A more comprehensive list of errors is provided in Table 3 of this report, below.


  Table 3. Errors Identified in Huncharek et al. 2007

                                                                                                        Location of
          Excerpt with Error                                Error Explanation
                                                                                                           Error

  “Table 1 provides an overview of       Inaccurate reporting                                         Pg. 424;
  the nine reports included in the                                                                    Paragraph 3;
  meta-analysis (Hartge et al.,          Table 1 does not have the Richardson et al, 1985             Lines 10-14
  1983; Richardson et al., 1985;         study, nor do any other tables or figures in the
  Whittemore et al., 1988; Booth         paper. The 9th study not included in this excerpt that
  et al., 1989; Harlow and Weiss         is in Table 1, etc., is Cramer et al, 1982.
  et al., 1989; Harlow et al., 1992;
  Rosenblatt et al., 1992; Cook et
  al., 1997; Ness et al., 2000).”

  “Table 1 shows the adjusted            Inaccurate reporting                                         Pg. 425;
  odds ratios ranged from 0.60                                                                        Paragraph 1;
  (Booth et al., 1989) to 3.0            In Table 1, the lowest adjusted OR is 0.60, however
                                                                                                      Lines 1-2
                                         0.60 is associated with Ness et al, 2000 in Table 1.
  (Rosenblatt et al., 1992)…”
                                         Booth et al, 1989 shows an adjusted odds ratio of
                                         0.75 in Table 1.




 12
   It’s important to note that standard statistical packages cannot perform a meta-analysis with an invalid point
 estimate and 95% confidence interval; it’s a fatal error that won’t allow the program to run. This begs the question
 of how this invalid data was handled in a meta-analysis performed ‘by hand.’

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  “…Harlow et al. (1992) also         Inaccurate reporting                                      Pg. 425;
  represents a potential problem                                                                Paragraph 3;
  for statistical pooling as the      Huncharek claims Harlow has issues but then               Lines 1-4 and
  cases in this instance were all     removes Ness, without explanation. Also, both             9-11
  patients with ‘borderline ovarian   studies did have cases of borderline tumors, but
                                      neither had cases entirely made of borderline
  tumors’.”
                                      tumors, as the authors state.
  “We therefore recalculated a
  summary relative risk without
  inclusion of data from the study
  by Ness et al. (2000).”

  “All studies except that of         Inaccurate reporting                                      Pg. 425;
  Hartge et al. (1983) are full                                                                 Paragraph 4;
  research reports with the study     Ness et al, 2000 is a full research paper, not a letter
                                                                                                Lines 1-3
  by Ness et al. (2000) published     to the editor. Hartge, however, is a letter to the
  as a ‘Letter to the editor’.”       editor.

                                      Inaccurate reporting                                      Table 1;
                                                                                                Booth et al,
                                      Nowhere in Booth et al, 1989 is there an adjusted         1989
                                      (or unadjusted) OR and CI listed here. Booth also
                                      does not address talc powder application to
                                      diaphragms, so this study should never have been
                                      included in the analysis.

                                      Inaccurate reporting                                      Table 1;
                                                                                                Harlow et al.
                                      Harlow et al, 1992 exposure category is actually Talc
                                                                                                (1992)
                                      application via partner or applications on
                                      diaphragm, and it includes combinations with
                                      sanitary napkins or underwear. This exposure
                                      category does not belong in the meta-analysis at all.

                                      Inaccurate reporting                                      Table 1;
                                                                                                Harlow and
                                      Original article exposure categories include
                                                                                                Weiss, 1989
                                      “Diaphragm storage only” and “Diaphragm storage
                                      only or with other methods”. The adjusted RR and CI
                                      used in the meta-analysis is actually from
                                      “Diaphragm storage only or with other methods”
                                      and is not exclusive diaphragm exposure.




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  ‡Errors from the Huncharek 2003 Meta-Analysis are abstracted and highlighted in yellow for ease of
  review.



     2) Lack of Replication – Diaphragm Meta-Analysis
 As previously discussed, the ability to replicate research findings is pivotal to their validity and
 usefulness (for example, to inform programmatic and policy decisions). Utilizing the manual
 methods of meta-analysis described by Huncharek and colleagues in the Diaphragm Study as well
 as their prior 2003 paper and then utilizing standard statistical software for meta-analysis, I
 attempted to replicate the results reported in the Diaphragm Study. Utilizing the numbers as
 presented in Table 1 and Table 2 of the Huncharek 2007 Diaphragm Study (which are incorrect as
 detailed in Section 6.2.1 above), replication of the meta-analysis by Drs. Huncharek and Muscat
 according to their described methods cannot be achieved.

 In their 2007 paper, Drs. Huncharek and Muscat report the following summary risk estimates for
 their diaphragm meta-analysis:

        Adjusted Summary Risk Estimate (Table 1, 2007 Diaphragm Study): 1.03 (0.80-1.33)

        Unadjusted Summary Risk Estimate (Table 2, 2007 Diaphragm Study): 1.21 (1.00-1.45)

 As shown in Table 4, the pooled summary risk estimate reported in the 2007 Diaphragm Study is
 not replicated using the methods reported in the paper. Table 5 (and Section 6.2.3, Other
 Methodological Concerns, below) shows that the Huncharek 2007 Diaphragm Study deviated
 significantly from the stated objectives of the study, including non-talc and non-diaphragm
 exposures in the exposed group, and talc-exposed individuals in the “unexposed” group. A number
 of studies should not have been eligible for inclusion in this analysis based on the stated objectives
 of the study, rendering the analysis invalid.

 The following conclusions can be reached from the data in Tables 4 and 5 below:

    1) The adjusted summary risk estimate reported by the authors cannot be replicated utilizing
       their own methods and the methods referenced in their paper;

    2) The crude risk estimates reported in Table 2 by the authors inappropriately include talc-
       exposed individuals in the control (unexposed) group, biasing the risk estimates toward no
       association;

    3) Inclusion of talc-exposed individuals in the control group may explain the null or inverse
       findings observed.

 The results reported by H&M in the 2007 Diaphragm Study could only be replicated by including
 exposed people in the denominator. This is not a valid comparison of the risk of talc exposure via

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 diaphragm compared to no exposure. The data are not meaningful or valid for any purpose. In
 order for research to be useful, it must be valid. Inaccurate and incomplete reporting of methods
 makes research unreliable and unusable. To revisit the author guidelines for Cancer Medicine:

            Accurate and complete reporting enables readers to fully appraise research, replicate it,
            and use it. We expect authors to adhere to the appropriate guidelines.

 The implications of the numerous substantive errors and omissions in the 2007 Diaphragm Study
 are that the results do not hold up to scientific standards and are unreliable.



  Table 4. Attempted replication of Huncharek 2007 Diaphragm Adjusted Meta-Analysis,
  Table 1+
                                             HUNCHAREK AND              GREENLAND                  FIXED EFFECTS
                                             MUSCAT METHOD                METHOD                      (Stata)‡
                                                 (manual)                 (manual)
  Analysis                       Studies     Pooled OR, 95% CI         Pooled OR, 95%            Pooled OR, 95% CI
                                included
                                   (n)
  Diaphragm
        Adjusted                 9            0.88 (0.42-1.34)         0.88 (0.65-1.11)          0.74 (0.55-0.93)
  ‡Mantel-Haenszel; The correct risk estimate and 95% CI from the Booth study was used in order for the program
  to run properly
  + Compare to 1.03 (0.80-1.33) as reported in Huncharek 2007
  Methods Summary: Table 1 in the Huncharek 2007 Diaphragm Study reports adjusted risk estimates allegedly
  abstracted from the nine original studies listed in the table. Ignoring the errors described in detail in this report,
  meta-analytic techniques were employed in an attempt to simply replicate the adjusted summary estimate
  derived from the data presented in Table 1 and reported by the authors on page 424 of the Huncharek 2007
  Diaphragm Study (summary OR: 1.03, 95% CI 0.80-1.33). Given the limited description of their methods, three
  different models were considered: (1) the inverse-variance method described by Huncharek and colleagues in
  their 2003 paper; (2) the method described in the Greenland 1997 13 paper Huncharek and Muscat cite for their
  methods (which is not the same as what they describe in their 2003 paper); and (3) the Mantel-Haenszel (M-H)
  fixed effects method, which is the default fixed effect method in Stata and in RevMan, used by the Cochrane
  Collaboration 39.




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      In both the 2003 and 2007 Huncharek papers, the Greenland paper year is incorrectly referenced as 1996

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  Table 5. Attempted replication of Huncharek 2007 Diaphragm Crude Odds Ratios, Table 2+
       Study         Cases   Controls    Calculated OR   Reported                 Notes
                                        (Reconstructing     OR
                                           Huncharek    (Huncharek
                                          calculations)    2007)
  Booth 1989                                                            Cannot replicate H&M;
         Exposed     30        75             0.75            0.75      should not have been
         Unexposed   183       343        (0.48-1.19)     (0.33-2.02)   included

                                                                        95% CIs do not match; talc
                                                                        use via diaphragms is only
                                                                        estimated/assumed.

  Cook 1997
         Exposed     22        35             0.92            0.96      Cannot replicate H&M;
         Unexposed   206       301        (0.52-1.61)     (0.52-1.76)   incorrect control group

                                                                        To get close to the
                                                                        number reported by H&M
                                                                        the unexposed group
                                                                        includes women who had
                                                                        more than one type of
                                                                        genital talc exposure;
                                                                        when true unexposed
                                                                        group is used from
                                                                        original study, the OR is >1
                                                                        (1.04, 95% CI: 0.59-1.85)
  Cramer 1982
         Exposed     37        35             1.25            1.18      Cannot replicate H&M;
         Unexposed   132       156        (0.75-2.10)     (0.59-2.35)   incorrect control group

                                                                        The closest estimate to
                                                                        what H&M report involves
                                                                        using data from Table 2
                                                                        from the original study,
                                                                        which is only “potential
                                                                        talc exposure” vs “Talc
                                                                        storage among diaphragm
                                                                        users” as reported in
                                                                        Table 3 of the original
                                                                        study, making Table 3 the
                                                                        more appropriate choice.
                                                                        When data from Table 3
                                                                        and true unexposed group
                                                                        is used from original
                                                                        study, the OR increases
                                                                        (1.45, 95% CI: 0.75-2.80)


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  Harlow 1992
         Exposed     20    21         0.97            0.97      Cannot replicate H&M;
         Unexposed   215   218    (0.51-1.83)     (0.49-1.92)   incorrect control group

                                                                To get close to the
                                                                number reported by H&M
                                                                the unexposed group
                                                                includes women who had
                                                                other genital talc
                                                                exposure; when true
                                                                unexposed group is used
                                                                from original study, the
                                                                OR is >1 (1.14, 95% CI:
                                                                0.59-2.20)




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  Harlow and Weiss
  1989
         Exposed     11    27         0.51            0.51      Cannot replicate H&M;
         Unexposed   105   131    (0.24-1.07)     (0.22-1.13)   incorrect exposure group;
                                                                incorrect control group;
                                                                should not have been
                                                                included

                                                                The closest estimate to
                                                                what H&M report involves
                                                                using data from the
                                                                exposure category
                                                                “diaphragm vs
                                                                “diaphragm storage only”
                                                                as reported in Table 1 of
                                                                the original study, making
                                                                the latter the more
                                                                appropriate exposure
                                                                category. In addition, the
                                                                unexposed group includes
                                                                women who had other
                                                                genital talc exposure;
                                                                when proper
                                                                exposed/unexposed
                                                                groups are used from
                                                                original study, the OR
                                                                decreases (0.41, 95% CI:
                                                                0.17-0.98). Regardless of
                                                                above, exposure can
                                                                include cornstarch,
                                                                therefore this study
                                                                should have been
                                                                excluded.

  Hartge 1983                                                   Cannot replicate H&M;
         Exposed     25    41         0.73            0.72      incorrect control group
         Unexposed   106   127    (0.42-1.28)     (0.40-1.30)
                                                                To get close to the
                                                                number reported by H&M
                                                                the unexposed group
                                                                includes women who had
                                                                other genital talc
                                                                exposure; when true
                                                                unexposed group is used
                                                                from original study, the
                                                                OR is decreases (0.60, 95%
                                                                CI: 0.33-1.1).


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  Ness 2000
         Exposed     10     33        0.53            0.53      Cannot replicate H&M;
         Unexposed   757   1334   (0.26-1.09)     (0.25-1.13)   incorrect control group

                                                                To get close to the
                                                                number reported by H&M
                                                                the unexposed group
                                                                includes women who had
                                                                other genital talc
                                                                exposure; when true
                                                                unexposed group is used
                                                                from original study, the
                                                                OR is increases
                                                                significantly (1.53, 95% CI:
                                                                1.21-1.95).

  Rosenblatt 1992                                               Cannot replicate H&M;
         Exposed     14     5         1.82            1.82      incorrect control group;
         Unexposed   60    39     (0.61-5.46)     (0.55-6.34)   should not have been
                                                                included

                                                                To get close to the
                                                                number reported by H&M
                                                                the unexposed group
                                                                includes women who may
                                                                have had other genital talc
                                                                exposure; when true
                                                                unexposed group is used
                                                                from original study, the
                                                                OR decreases (1.40, 95%
                                                                CI: 0.32-6.16). Exposure
                                                                included asbestos,
                                                                fiberglass, not just talc;
                                                                therefore this study
                                                                should not have been
                                                                included.




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  Whittemore 1988                                                           Cannot replicate H&M;
        Exposed          9         19             1.38            1.38      incorrect control group
        Unexposed       179        520        (0.61-3.10)     (0.57-3.28)
                                                                            To get close to the
                                                                            number reported by H&M
                                                                            the unexposed group
                                                                            includes women who had
                                                                            other genital talc
                                                                            exposure; when true
                                                                            unexposed group is used
                                                                            from original study, the
                                                                            OR increases (1.45, 95%
                                                                            CI: 0.63-3.35).

  Methods Summary: In many cases the risk estimates reported in Table 2 of the Huncharek 2007 paper
  did not match crude odds ratios reported in the original studies or re-calculation of the odds ratios
  based upon raw frequency counts from the original studies. Therefore numbers from the original study
  were re-abstracted and re-analyzed in an attempt to understand the origin of the numbers presented
  in Table 2 of the Huncharek 2007 paper. Risk estimates and confidence intervals were calculated using
  medcalc.org.


     3) Other Methodological Concerns
 In the 2007 Huncharek Diaphragm Study the authors convey that the objective of the paper was to
 address the talc-ovarian cancer research question with better precision and validity by restricting
 the exposure definition to a route of exposure (i.e., diaphragms) that would allegedly bring the talc
 in closer proximity to the target organ system:

       The talc-ovarian cancer hypothesis could be tested with better precision and validity of the
       exposure to the suspected carcinogen was directly to the reproductive tract.

 In this case the “suspected carcinogen” is talc. The paper goes on to say that the purpose and
 methods of the study was “a meta-analysis examining the risk of developing ovarian cancer
 associated with the use of talc-dusted diaphragms.” Despite the authors’ assertions, a critical
 review of the paper shows that this is not the analysis that was done. Three methodological
 choices by the study authors undermine the internal validity of this study:

                              1. Including non-diaphragm exposures
                              2. Including non-talc exposures
                              3. Including subjects with talc exposure via other routes (i.e., perineal
                                 dusting) in the unexposed group

 Appendix A provides a full description of the risk estimates that were included in the 2007
 Diaphragm Meta-Analysis. Of the nine papers included four (44.4%) had exposure definitions
 that were not limited to talc-dusted diaphragms. Examples of this include:
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           Harlow and Weiss, 1989 – Exposure definition included storage of diaphragm in talc
            or cornstarch, or included any other method of exposure (not just diaphragm)
           Rosenblatt, 1992 – Exposure definition included any fibers, including asbestos and
            fiberglass

 A reconstruction of the analysis presented by Drs. Huncharek and Muscat in Table 2 of the
 Diaphragm Study demonstrates that unexposed, or control groups were constructed to include
 talc exposed subjects when a true unexposed control group was available, such as:

           Harlow, 1992 – Table 2 from original paper (see below) includes an unexposed
            category of “No genital talc application” which would be the appropriate control
            group; instead the authors combine all non-diaphragm talc exposures (including other
            genital talc exposure) and call it the control group




           Harlow and Weiss, 1989 – Similar to above the original paper includes an unexposed
            category of “No perineal exposure to powder” which would be the appropriate control
            group; instead the authors include other genital talc exposures in the control group


 The net effect of these methodological decisions is serious and significant misclassification bias,
 where individuals allegedly exposed to talc via diaphragms may neither be exposed to talc nor
 through diaphragms. Conversely, individuals who should be unexposed are actually exposed to
 talc. None of these decisions represent generally accepted methodology in the field of
 epidemiology. The result is data that does not address the stated research question, is meaningless,
 and unreliable.


     4) Conclusion
 The premise of the 2007 Diaphragm Study - to bring increased precision to the research question
 of whether talc is a cause of ovarian cancer - while reasonable, was poorly executed and not
 realized. Drs. Huncharek and Muscat made methodological decisions that undermine their
 research, contrary to generally accepted practices in the field of epidemiology. These decisions
 significantly increased the risk of bias in the study thereby confusing, rather than clarifying, the
 research question. Ultimately, Huncharek and colleagues present an analysis that is flawed,
 invalidated by errors in fact and methodology, and lack of transparency. The implications of the

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 numerous substantive errors and omissions in the 2007 Diaphragm Study is that the results do not
 hold up to scientific standards and are unreliable.




 6.3   PCPC 2009 RESPONSE TO CITIZEN’S PETITION TO THE FDA


 The 2009 H&M report submitted to FDA relied heavily on Huncharek and Muscat’s own prior
 studies and conclusions from their 2003 and 2007 papers. A review of the FDA website shows
 that the 2009 H&M Report was the only commentary that was received in response to the Citizen’s
 Petition filed by Dr. Epstein.

 The opinions and conclusions of Drs. Huncharek and Muscat represented in the 2009 report were
 subsequently published in 2011 for the medical and scientific community. The report was
 submitted in 2009 to the FDA as evidence of the PCPC’s position that “the available ovarian cancer
 epidemiology studies do not support a causative role for talc” based on: (1) lack of a clear dose-
 response relationship, (2) uncontrolled confounding and (3) selection bias. FDA’s denial of the
 Citizen’s petition (April 1, 2014) cites directly to these positions as the basis, in part, for their
 denial.14

     1) Dose-Response Analysis
 One of the primary reasons that Huncharek and Muscat dismiss the positive and statistically
 significant associations consistently observed in the evidence base is their assertions that (1) a
 linear dose-response is required for a causal relationship and (2) any observation of an inverse
 dose-response relationship automatically supports a non-causal conclusion. Drs. Huncharek and
 Muscat rely primarily on data from their 2003 paper to support this position, in particular Table II
 from the 2003 Huncharek Meta-Analysis, which is discussed in detail in Section 6.1 of this report.
 This 2003 table—including all of the incorrect data contained therein—was republished as Table
 3 in their 2011 publication.

 As discussed previously, the results and conclusions of their own dose-response analysis in the
 2003 Huncharek Meta-Analysis are invalid and unreliable. Beyond this H&M misrepresent the
 other available data on dose response.

 There is evidence of a positive dose-response in the epidemiological studies on talc and ovarian
 cancer. Table 6 below provides two examples of how the authors overlooked evidence of a dose-

 14
   Huncharek and Muscat also assert that there was no biologic plusability for Talcum Powder products as asbestos
 had been “eliminated” from them such products since the 1970’s. I have not been asked to address this but I have
 been informed that there is evidence that asbestos has been found in talc products since the 1970’s.



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 response. In the case of the Chang 1997 paper, the study authors’ own findings and conclusions
 are misrepresented.



  Table 6. Unacknowledged Positive Dose Response Data
  Author,     Huncharek and Muscat’s          Original Author Comments
  Year        Comments
  Chang,      They acknowledged that the      A questionable dose-response relationship was observed
  1997        lack of a dose-response         between duration or frequency of exposure and risk.
              needs clarification. In fact,   Duration as a continuous variable indicated that risk may
              an inverse dose-response is     increase with increasing years of talc
              suggested by the data in        exposure. 3(p2400)
              Table 2 of the manuscript.
              8(p12)

  Harlow,     * Huncharek and Muscat          When monthly frequency was considered as a continuous
  1992        provide no discussion of        variable in the logistic model the chi-square linear test of
              Harlow 1992 in the PCPC         trend was 4.06 (p=0.046), indicating that the risk for
              Report nor is the paper         ovarian cancer increased significantly with increasing
              listed in the bibliography.     frequency of applications per month. 27(p22)


 Even if there was no evidence of a dose-response: 1) It is not required for inferring causation
 according to generally accepted scientific methods, and 2) there are many reasons why a linear
 dose response curve may not be observed in individual epidemiological studies. Examples include
 a non-monotonic dose-response relationship and reducing a quantitative variable to arbitrary
 categories, which can obscure a dose-response relationship. The authors do not report the positive
 dose-response data described in the individual epidemiological studies and do not offer a
 discussion of the reasons why a dose-response relationship may be obscured even when the
 association is causal, presenting only data which supports their conclusion. Huncharek and
 Muscat’s assertions on dose-response are based on the propagation of an error-filled analysis along
 with an inaccurate and incomplete review of the available evidence.

     2) Contradictory and Unsupported Claims of Uncontrolled Confounding
 Epidemiologists are tasked with evaluating the potential for uncontrolled confounding to bias the
 risk estimates of a study or an evidence base. Either uncontrolled confounding is a concern and
 risk estimates should be adjusted to the extent possible to address it, or uncontrolled confounding
 is not a concern and the crude risk estimates represent the best estimate of risk. The authors are
 inconsistent in their treatment of confounding.

 Beginning in 2003 and continuing through the 2009 report, Drs. Huncharek and Muscat claim that
 uncontrolled confounding can explain the consistently positive associations observed in the
 epidemiological studies.


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 If this is their belief, the generally accepted scientific methods for analysis of the evidence base
 would look at risk estimates that have been adjusted for potential confounders (See Section 4.1,
 Confounding). However, on page 9 of the 2009 H&M Report, Huncharek and Muscat state that:

          The meta-analysis by Huncharek et al. included the adjusted odds ratio, but in retrospect
          the lower crude OR was probably the better measure when pooling the results. (Emphasis
          added)

 This position is echoed in Muscat’s deposition when he stated:

          The Huncharek analysis is an unadjusted confidence interval…and it’s correct. That’s the
          way you do the meta-analysis. (p.475 Muscat Deposition).

 These positions are contradictory and are not explained. If uncontrolled confounding is a bias
 explaining consistently positive associations, there is no scientific reason to hold up a crude, or
 unadjusted, risk estimate (meaning no control for confounding factors) as the best estimate of the
 risk of ovarian cancer from talc exposure.

 On page 4 of the 2009 H&M Report, Drs. Huncharek and Muscat introduce smoking as a specific
 confounder that could “produce a spurious positive finding.” They further discuss this on page 23,
 where they cite an article by Rosenblatt and colleagues as empirical data supporting their assertion
 that smoking is an important confounder. In order to be a strong confounder, smoking would have
 to be strongly associated with talc use and ovarian cancer. The data the authors cite to support the
 talc-smoking relationship is in Table 1 of Rosenblatt et al., showing an odds ratio of 1.2 (95% CI:
 1.0, 1.6) )15, meaning that in their study smokers were 1.2-times more likely to report powder
 exposure of any type of application. This finding is not statistically significant at the alpha level
 of 0.05, as it includes the null value of 1.0 in the 95% confidence interval. Despite this being a
 “weak” association by their own definition 8, Huncharek and Muscat claim a positive significant
 association from the Rosenblatt data for a relative risk of 1.2 that is non-statistically significant.
 However, in other sections of the report it is claimed that “weak” associations are highly
 susceptible to bias and are unreliable.

          The weak association shown in a sub-set of observational studies can potentially be
          explained by numerous alternative hypotheses (Huncharek 2009, p. 30).

          Measures of association of this magnitude are often difficult to interpret (Huncharek 2009,
          p. 26).




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   There appears to be an error in the Rosenblatt 1998 paper. The authors report in their Table 1 an OR of 1.2 (1.0,
 1.6) for smoking but replace that in the narrative with an OR of 1.3 (1.0, 1.8). This is being noted for accuracy but
 does not change the point that Huncharek and Muscat relied upon this number to support their position that
 smoking is a confounder of the talc-ovarian cancer relationship.

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 Generally accepted scientific methods do not allow similar “weak” associations unsupportive of a
 position to be treated differently than “weak” risk estimates supporting a position.

 A similar position is taken by the authors with regard to statistical significance, citing lack of
 statistical significance to discount the validity of risk estimates unsupportive of their opinions and
 overlooking it, when it is supportive. As noted above, the authors rely on non-statistically
 significant data from Rosenblatt 1998 to support the position that smoking is an important
 confounder, while simultaneously discounting findings that similarly do not achieve statistical
 significance that are unsupportive of their positions. As example, on page 20 of the 2009 H&M
 Report, the authors claim the findings of their subgroup meta-analysis of hospital-based controls
 “showed no increased risk,” when it actually showed a 19% increased risk of ovarian cancer for
 talc-exposed patients. Promoting a risk estimate as meaningful when it supports a position
 (RR=1.20; 1.0-1.6, smoking and talc use from Rosenblatt 1998) and disregarding a nearly identical
 risk estimate when it does not support a position (OR=1.19; 0.99-1.41, talc exposure and ovarian
 cancer, Huncharek 2003) is not generally scientifically accepted.

      3) Analysis of Selection Bias
 Drs. Huncharek and Muscat re-assert in the 2009 PCPC Report a position that they introduce in
 their 2003 Meta-Analysis: selection bias in the population based case-control studies may be
 resulting in a false positive association. The data they offer to support this assertion is their own,
 inaccurate data from the 2003 Meta-Analysis wherein their subgroup analysis showed a lower
 summary risk estimate for hospital based case-control studies compared to population-based case
 control studies. This analysis contains multiple substantial errors and cannot be replicated.
 Setting aside the significant errors, this assertion is entirely unsupported, which the authors admit
 8(p16)
       .

 Further, the authors repeatedly discuss the observed differences between hospital and population-
 based case control studies without acknowledging the intrinsic, well-documented bias in hospital-
 based case control studies that would actually serve to underestimate the true risk. Unfortunately,
 the authors unevenly discuss the evidence base, only citing studies that support the case for a non-
 causal relationship and utilizing the observed difference in risk estimates between population and
 hospital-based case-control studies as evidence undermining a causal association, without
 considering and discussing other more scientifically accepted explanations for the observed
 difference – including the implications of their theory of a “treatment effect.”

 As before, Huncharek and Muscat’s conclusions on this issue depend on error-filled analyses and
 unsubstantiated claims that are invalid.

    4) Other Methodological Concerns

 In addition to the flawed analyses and conclusions that were repeatedly asserted and disseminated
 to the FDA and the medical and scientific community, Huncharek and Muscat’s review of the


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 epidemiological literature in the 2009 H&M report is questionable based on misrepresentation of
 the epidemiological evidence base and departure from generally accepted scientific standards.

 Huncharek and Muscat confuse and misuse basic epidemiological concepts

 Association versus causation. Association and causation are not equivalent. Association is a
 statistical relationship between two variables; an association may be detected by conducting a
 range of statistical tests. Causation involves an evaluation as to whether an observed statistical
 association represents a cause-effect relationship and requires inferences beyond the data from a
 single study. An observed statistical association between an exposure and a disease does not
 automatically infer a causal relationship and, conversely, the absence of an association does not
 necessarily imply the absence of a causal relationship. Drs. Huncharek and Muscat confuse these
 two distinct epidemiological concepts. This is most apparent in the 2003 paper in which they make
 causal judgments based on the results of their meta-analysis.

        In summary, pooling data from the sixteen available observational studies examining the
        relationship between perineal use of cosmetic talc and the development of invasive
        epithelial ovarian cancer failed to show evidence of a causal relationship (p 1960).

 On page 19 of the PCPC report, Huncharek and Muscat state (in reference to Epstein et al.’s
 analysis of their own 2003 meta-analysis):

        Epstein et al. note, “An analysis of 16 pooled studies confirmed a statistically significant
        33% increased risk of ovarian cancer associated with the perineal use of talc.”
        Essentially, the petitioners erroneously indicate that the meta-analysis supports an
        association between perineal talc dusting and ovarian cancer risk."

 This statement is incorrect and the statement of fact by the Epstein authors is correct. As reported
 in the 2003 meta-analysis by Huncharek and Muscat, the results of the primary meta-analysis do
 in fact demonstrate a 33% increased risk of ovarian cancer and the finding is also statistically
 significant. Claiming that such data do not demonstrate an association is not generally
 scientifically accepted.

 Causation cannot be inferred or discounted based on a single study. Epidemiology as a practice
 utilizes evidence provided from a multitude of disciplines in order to assess causation and
 recognizes that it is the collective weight of evidence that drives its recommendations.40 Despite
 this, the authors repeatedly make causation assertions that are not generally scientifically accepted.
 As example, on page 9 of the PCPC report they state in reference to the Purdie 1995 paper:

        The association with talc cannot be considered causal in this individual study as the
        exposure is crudely defined, the findings based on the whole dataset are marginally
        significant, and there are no dose-response data.



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 Their evaluation of this individual study fails to align with generally accepted methods and makes
 an unsupported leap to causation. A causal analysis cannot be determined based on a single piece
 of evidence but requires consideration of the totality of relevant evidence.

 Association versus statistical significance. Huncharek and Muscat also repeatedly confuse the
 concepts of association and statistical significance.

 On page 7 of the PCPC report Huncharek and Muscat:

            Two meta-analyses by Huncharek et al. (2003) and Langseth et al. (2008) both show
            significant differences in summary odds ratios between population-based and hospital-
            based case control studies, with the latter showing generally null results.

 That statement is false. The results of their subgroup analysis showed a 19% increased risk of
 ovarian cancer for talc-exposed individuals versus unexposed (OR 1.19, 95% CI: 0.99-1.41).
 Because the number of studies was small the precision of the estimate was reduced and the 95%
 confidence interval included the null value, which is a reflection of statistical hypothesis testing
 and not the magnitude or direction of the association. Given a valid analysis, the point estimate is
 always the most likely value of the true population parameter and shows a positive association
 (i.e., increased risk) for both population-based and hospital-based case control studies in both the
 Huncharek 2003 and Langseth 2008 analyses.

 The use of inappropriate terminology and misrepresentation of data is scientifically misleading.
 Huncharek and Muscat misused and conflated important epidemiological concepts. Their analyses
 and resulting conclusions repeatedly fall short of generally accepted methods and scientific
 standards.

 Contradictory positions on key methodological issues

 Objective presentation of data and findings is a key tenet of scientific research standards:
 “Presented data must represent the findings in an unbiased, accurate and transparent
 manner.”16 According to the American College of Epidemiology17:

            It is incumbent upon epidemiologists (as members of the broader scientific community) to
            ensure that objectivity prevails at every step of the research process. Partiality can arise
            through a scientist's own biases and preconceived notions about a problem being
            investigated. Maintaining honesty and impartiality in the design, conduct, interpretation,
            and reporting of research findings is essential. Truth-telling and objectivity are
            professional duties and they can also be thought of as virtues.




 16
      Instructions to Authors, Cancer Medicine
 17
      https://www.acepidemiology.org/ethics-guidelines

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 When evaluating evidence surrounding a research question (like “Does talc cause ovarian
 cancer?”), key methodological questions and approaches will arise and a scientifically objective
 position should be asserted from the outset. Contrary to this, Huncharek and Muscat vacillate
 between important methodological positions on these questions. I discuss some of these in detail
 below.

 Is control for confounding important or not? As discussed previously, as part of an evaluation
 of a research question, in this case ‘does talc cause ovarian cancer,’ an epidemiologist must
 evaluate whether and to what extent the inability to control for confounding factors could (1) result
 in a biased risk estimate and (2) change the conclusions.

 On page 9 of the PCPC report, Huncharek and Muscat state:

        The meta-analysis by Huncharek et al. included the adjusted odds ratio, but in retrospect
        the lower crude OR was probably the better measure when pooling the results. (Emphasis
        added)

 This statement advocates for risk estimates that are unadjusted (meaning no control for
 confounding factors) as the best estimates of the risk of ovarian cancer from talc exposure. This
 position is echoed in Muscat’s deposition when he states:

        The Huncharek analysis is an unadjusted confidence interval…and it’s correct. That’s the
        way you do the meta-analysis. (p. 475 Muscat Deposition).

 However, contrary to these two statements, the authors repeatedly express concern that
 uncontrolled confounding may be resulting in biased risk estimates. As example on page 7 of the
 PCPC report, Huncharek and Muscat state:

        Huncharek et al. (2003, 2007) suggest multiple sources of bias that could produce a
        spurious positive finding, including unaccounted effects of cancer treatment and
        confounding by smoking.

 The two positions cannot be held simultaneously.

 Are modest relative risks reliable? Throughout this and prior reports the authors repeatedly cite
 the “weak” association between talc and ovarian cancer as being intrinsically at risk of bias just by
 nature of being a relative risk less than two.

 On page 7 of the PCPC report, Huncharek and Muscat state:

        Given the lack of supporting evidence from in vivo and clinical research studies using
        human subjects, the weak and inconsistent epidemiological associations, that also lack a
        gradient in effect, argues against a claim of causality.



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 The authors assert that “weak” associations are intrinsically susceptible to bias. Any risk estimate,
 regardless of size, must be critically analyzed for risk of bias within the context of specific study
 methodology. A risk estimate of 1.30 can be highly reliable based on a review of the underlying
 study or at high likelihood of bias based on a review of the underlying study. More modest, or
 “weak,” risk estimates can be causal and there are numerous examples of this in the field of
 epidemiology such as the benefits of fruit and vegetable intake and the risks from UV radiation18.
 One cannot just look at a risk estimate in the absence of a thorough review of the underlying study
 methodology and claim bias.

 Despite repeatedly claiming that “weak” risk estimates are highly susceptible to bias and are
 unreliable, Huncharek and Muscat rely on a “weak” risk estimate when it suits their position. On
 page 26 of the 2009 H&M Report they cite the Rosenblatt 1998 paper as supportive of their
 position that smoking as “an example of a factor that could confound the weak effect shown for
 perineal talc” and ovarian cancer:

         Since Rosenblatt et al. reported that smokers are more likely to engage in perineal talc
         dusting compare with non-smokers, an imbalance in smokers across cases and control
         groups in epidemiological studies of the talc/ovarian cancer association could contribute
         to a spurious positive association (Rosenblatt, 1998).

 As discussed previously, Huncharek and Muscat claim a positive significant association from the
 Rosenblatt data for a relative risk of 1.2 that is non-statistically significant, despite their earlier
 assertions that “weak” estimates are unreliable.

 Either a relative risk that is “weak” and non-statistically significant can be meaningful and
 contribute to a body of evidence or it is not because it is intrinsically biased (according to the
 Huncharek and Muscat). It cannot be meaningful when it supports your position and weak when
 it does not.

 Is statistical significance required or is it not? Similar to their contradictory positions on the
 strength of the association, Huncharek and Muscat flip-flop on the importance of statistical
 significance in interpreting epidemiological risk estimates. As noted above, they rely on non-
 statistically significant data from Rosenblatt 1998 to support their position that smoking is a
 confounder but discount findings that do not achieve statistical significance when it opposes their
 position. One of the most significant examples of this is the findings from their subgroup meta-
 analyses looking at hospital versus population-based controls. On page 20 of the PCPC report,
 Huncharek and Muscat state:



 18
  https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5837313/pdf/dyw319.pdf
  http://www.beauty-review.nl/wp-content/uploads/2014/06/Meta-analysis-of-risk-factors-for-cutaneous-
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        Studies using hospital derived controls showed no increased risk while those employing
        population-based controls were consistent with a 38% increased risk of disease.

 This statement is inaccurate, as the summary relative risk estimate for hospital based studies was
 1.19 in their analysis – representing a 19% increased risk of ovarian cancer for talc-exposed
 patients. The fact that the 95% confidence interval includes the null value of 1.0 (0.99-1.41) speaks
 only to the question of statistical significance testing, not the strength or magnitude of the
 association. The authors validate such a risk estimate when it supports their position (RR=1.20;
 1.0-1.6, smoking and talc use from Rosenblatt 1998) and discount the nearly identical risk estimate
 when it does not support their position (OR=1.19; 0.99-1.41), talc exposure and ovarian cancer
 from Huncharek 2003).

 Are the data consistent? Consistency according to Bradford Hill is generally described as the
 situation in which the association has been “repeatedly observed by different persons, in different
 places, circumstances and times” 42. The guidelines do not put any constraints on how precisely
 consistency is measured. Meta-analysis is a statistical tool that helps us measure consistency of
 findings across an evidence base. As discussed previously, there are measures that are calculated
 and reported routinely as part of meta-analyses that speak to consistency: measures of
 heterogeneity (i.e., Q statistic, I2). These statistical tests of heterogeneity are routinely used to
 make decisions about the appropriate methods for combining studies and for concluding
 consistency or inconsistency of findings 22.

 On page 26 of the PCPC Report, Huncharek and Muscat claim that the epidemiological evidence
 base is not consistent:

        Consistency of an effect could contribute to a causal claim despite a finding of a weak
        association…Despite the claims of the petitioners, a review of available evidence shows
        that the epidemiological evidence is NOT consistent across studies or across study types.

 This statement is directly contrary to their own results from their 2003 meta-analysis and
 contradicts their own words in the 2003 paper in which they found the evidence base to be
 consistent enough for pooling in a meta-analysis:

        Analysis for heterogeneity demonstrated that the data were homogenous (p= 0.17) and
        could be combined in a meta-analysis.

     5) Conclusion
 In their 2009 H&M Report to the FDA in opposition to a mandatory warning on talcum powder
 products that was requested by CPC and Dr. Epstein, and in their subsequent 2011 publication,
 Drs. Huncharek and Muscat rely heavily upon their own flawed 2003 and 2007 meta-analyses to
 dismiss the consistently observed positive association between talc and ovarian cancer. They fall
 short of key research standards, including but not limited to transparency and accuracy. As a


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 result, the causal analysis and conclusions presented by Drs. Huncharek and Muscat in their 2009
 report are invalid.




 7    Conclusion


 I was tasked with evaluating the scientific rigor and validity of the research, analyses, conclusions
 and opinions produced by Drs. Huncharek and Muscat beginning in 2003 and ending in 2011.
 Their analyses were presented to FDA to effect important policy and regulatory decisions,
 regarding talc exposure and the risk of ovarian cancer.

 In conducting my evaluation, I have applied generally accepted principles of epidemiology and
 biostatistics. My application of these methods to a critical assessment of these manuscripts and
 report leads to my conclusion and opinion that key analyses – which were repeatedly referenced
 and reproduced in the scientific literature and in submission to the FDA over the course of almost
 a decade – contained numerous substantive errors. The number of errors, from simple abstraction
 of the underlying data, failure to follow their own described methods, inappropriate
 methodological decisions, lack of replication, and reliance on uncontrolled confounding make
 these studies and the derived 2009 FDA report inaccurate. Any conclusions reached on dose-
 response, uncontrolled confounding or selection bias that relied upon or were influenced by data,
 analyses, opinions or conclusions presented within these studies and report, are at high risk of bias.
 I hold this opinion and all opinions set forth in this report to a reasonable degree of scientific
 certainty.

 By




 ______________________________________

 April Zambelli-Weiner




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 9     Appendix A – Exposure Definitions Used in Huncharek 2007 Diaphragm
       Study, Adjusted Risk Estimates
 In the 2007 Diaphragm Study Huncharek and colleagues describe in their methods that they
 derived risk estimates that: “reflect the risk of developing ovarian cancer associated with the
 practice of dusting contraceptive diaphragms with cosmetic talc.” A review of the actual exposure
 definitions included in their analysis demonstrates the following: The majority of risk estimates
 used in their meta-analysis did not address the stated research question, that is isolating the
 risk of ovarian cancer associated with talc-diaphragm exposure versus non-talc exposure.

                          Adjusted OR (95% CI)
        Study            reported in Huncharek                            Exposure Definition in Original Article
                           et al, 2007, Table 1
                                                         Monthly genital use
                                                            Not specifically diaphragm use
     Booth, 1989             0.75 (0.85-2.02) a
                                                            Reported OR and 95% CI used in the Huncharek paper
                                                                cannot be found anywhere in the original Booth article)

      Cook, 1997              0.80 (0.40-1.40)           Diaphragm storage - exclusive

                                                         All/any diaphragm storage in talc
                                                              Can include any duration of use
     Cramer, 1982             1.56 (0.62-3.88)                Not exclusively diaphragm use (meaning individuals could
                                                                 have other sources or routes of exposure; model not
                                                                 adjusted for this)
                                                         Partner or applications to diaphragmb
                                                              Not exclusively diaphragm use
     Harlow, 1992             1.20 (0.60-2.40)
                                                              Can also include “combinations with sanitary napkins or
                                                                 underwear”
                                                         Diaphragm storage in talc OR cornstarch only or with other
                                                         methods of exposure
     Harlow and
                              0.50 (0.20-1.30)                Exposure can include cornstarch
     Weiss, 1989
                                                              Not exclusively diaphragm use, category could include
                                                                 other routes of exposures
     Hartge, 1983             0.80 (0.40-1.40)           Diaphragm in talc
                                                         Diaphragm/Cerv Capc
      Ness, 2000              0.60 (0.30-1.20)                Not exclusively diaphragm use, may include other routes
                                                                 of exposure
     Rosenblatt,                                         Diaphragm
                              3.0 (0.80-10.8)
        1992                                                  Exposure included asbestos, fiberglass, and talc
     Whittemore,
                              1.5 (0.63-3.58)            Diaphragm only - exclusive
        1988
 a This study does not contain any ORs for diaphragm storage in talc powder. See error list document.
 b Includes combinations with sanitary napkins or underwear.
 c Subjects may have used talc on more than one area of the body




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10 Appendix B. Dose Response Data from 2003 Huncharek Meta-Analysis, Adjusted v. Unadjusted
                                       Years of Talc Use                                                # Talc Applications per Month
                Exposure      Adjusted OR          Unadjusted         Huncharek          Exposure    Adjusted OR            Unadjusted        Huncharek
 Author                                                                                  Category
                Category       (95% CI) ‡          OR (95% CI)        OR (95% CI)                     (95% CI) ‡            OR (95% CI)       OR (95% CI)
                                                                                            1x*         0.7 (0.3-1.8)      0.68 (0.28-1.65)     0.7 (0.3-1.8)
 Booth, 1989                                      NG                                         4x         2.0 (1.3-3.4)      1.73 (1.12-2.68)     2.0 (1.3-3.4)
                                                                                            30x         1.3 (0.8-1.9)      1.20 (0.81-1.77)     1.3 (0.8-1.9)
                    <30       1.697 (1.09-2.64)    1.62 (1.11-2.50)   1.7 (1.09-2.68)       <10      1.836 (1.24-2.73)     1.86 (1.27-2.70)   1.84 (1.24-2.73)
 Chang, 1997       30-40      1.435 (0.96-2.15)    1.53 (1.05-2.21)   1.44 (0.96-2.15)     10-25     1.128 (0.74-1.72)     1.22 (0.82-1.81)   1.13 (0.74-1.72)
                    >40       0.865 (0.54-1.38)    0.92 (0.60-1.41)   0.96 (0.54-1.38)      >25      0.951 (0.61-1.49)     0.98 (0.64-1.51)   0.95 (0.61-1.49)
                  0-5.5**        1.8 (0.9-3.5)     1.51 (0.80-2.86)     1.8 (0.9-3.5)
                  5.5-13.5       1.6 (0.9-2.9)     1.53 (0.85-2.77)     1.6 (0.9-2.9)
 Cook, 1997                                                                                                              NG
                  13.5-27        1.2 (0.6-2.4)     1.59 (0.84-2.98)     1.2 (0.6-3.4)
                    >27          1.8 (0.9-3.4)     2.74 (1.45-5.17)     1.8 (0.9-3.4)
                    <20        1.86 (1.16-3.00)    1.85 (1.17-2.92)     1.9 (1.2-3.0)        <30     2.21 (1.37-3.56)      2.38 (1.50-3.79)     2.2 (1.4-3.6)
 Cramer, 1999      20-30       1.33 (0.76-2.30)    1.28 (0.75-2.19)     1.3 (0.8-2.3)      30-39     1.17 (0.78-1.76)      1.20 (0.81-1.79)     1.2 (0.8-1.8)
                    >30        1.44 (0.91-2.26)    1.66 (1.08-2.56)     1.4 (0.9-2.3)        40+     1.57 (0.80-3.10)      1.60 (0.82-3.10)     1.6 (0.8-3.1)
                                                                                          4-24 ***   0.99 (0.67-1.46)      0.93 (0.63-1.37)   0.99 (0.67-1.46)
 Gertig, 2000                                     NG
                                                                                           >/=30     1.12 (0.82-1.55)      1.10 (0.80-1.52)   1.12 (0.82-1.55)
                    <10         1.2 (0.5-2.6)      1.12 (0.52-2.41)    1.2 (0.5-2.6)          <5       1.5 (0.8-2.7)       1.37 (0.78-2.40)     1.5 (0.8-2.7)
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 Harlow, 1992      10-29        1.6 (1.0-2.7)      1.51 (0.93-2.45)    1.6 (1.0-2.7)        5-29       1.2 (0.6-2.2)       1.15 (0.63-2.12)     1.2 (0.6-2.2)
                   >=30         1.6 (1.0-2.7)      1.53 (0.95-2.47)    1.6 (1.0-2.7)        >=30       1.8 (1.1-3.0)       1.70 (1.06-2.70)     1.8 (1.1-3.0)
                     <1         2.0 (1.0-4.0)      2.04 (1.03-4.04)    2.0 (1.0-4.0)
                    1-4         1.6 (1.1-2.3)      1.54 (1.12-2.12)    1.6 (1.1-2.3)
 Ness, 2000                                                                                                              NG
                    5-9         1.2 (0.8-1.9)      1.38 (0.91-2.11)    1.2 (0.8-1.9)
                    10+         1.2 (1.0-1.5)      1.28 (1.05-1.57)    1.2 (1.0-1.5)
 Whittemore,        1-9       1.60 (1.00-2.57)     1.47 (0.92-2.33)   1.60 (1.00-2.57)     1-20      1.27 (0.82-1.96)      1.16 (0.76-1.77)   1.27 (0.82-1.96)
 1988               10+       1.11 (0.74-1.65)     1.06 (0.72-1.56)   1.11 (0.74-1.65)     20+       1.45 (0.94-2.22)      1.40 (0.92-2.13)   1.45 (0.94-2.22)
                    1-9         0.9 (0.6-1.5)      1.01 (0.66-1.56)    0.9 (0.6-1.5)
 Wong, 1999        10-19        1.4 (0.9-2.2)      1.55 (1.01-2.38)    1.4 (0.9-2.2)                                     NG
                   >=20         0.9 (0.6-1.2)      0.99 (0.74-1.34)    0.9 (0.6-1.2)
NG=Not Given; Numbers in red represent values used in the 2003 Huncharek Meta-Analysis do not match either the adjusted or unadjusted values from the
original epidemiological studies
‡
  Values were abstracted from the original articles
* Booth categorizes as Monthly Weekly, and Daily. There is also another category, “Never”, which Huncharek did not include.
** Cook categorizes as <=2,000 days, 2,001-5,000 days, 5,001-10,000 days, and >10,000 days.
*** Gertig reports as 1-6/wk and Daily. There is also a category, “<1/wk” which Huncharek did not include.
                                                                                                                                                                 Case 3:16-md-02738-MAS-RLS Document 9740-7 Filed 05/07/19 Page 54 of 65 PageID:




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 11 Appendix C. Curriculum Vitae for April Zambelli-Weiner, Ph.D.
                            Curriculum Vitae
               April Zambelli-Weiner, Ph.D., M.P.H.

  Address   1231 Tech Ct, Suite 201 | Westminster, MD 21157
  Email     aweiner@tti-research.com
  Telephone (800) 580-2990, ext. 101                  Fax (888) 391-5380

  Current Professional Affiliations
 2011- Present Founder, President, Principal Epidemiologist
               TTi Health Research & Economics, Westminster, MD

 Positions Held
  2003-2011     Principal Epidemiologist
                Epidemiology International, Inc.
                Hunt Valley, MD

  2000- 2003    Data Analyst and Manager, Data Analysis Core Facility
                The Johns Hopkins Asthma and Allergy Center, Division of Clinical
                Immunology, Baltimore, MD

  1997-1999     Research Assistant
                Washington University School of Medicine, Division of Internal
                Medicine, Department of Gastroenterology, St. Louis, MO


  Education
  Post-Doc      Clinical Immunology
                Johns Hopkins University School of Medicine, Baltimore, MD

  PhD           Epidemiology / Human Genetics
                Johns Hopkins University School of Public Health, Baltimore, MD

  MPH           Epidemiology
                Saint Louis University School of Public Health, St. Louis MO

  BA            Chemistry and English
                Washington & Jefferson College, Washington, PA


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  Key Skills & Expertise
    Extensive experience in public health and health care research including collection of
     scientific and health data from various sources, including both primary and secondary data
     sources; compilation of gathered data in appropriate formats
    Employing advanced statistical techniques in the analysis of epidemiological, clini cal,
     lifestyle, risk factor, and environmental data
    Designing and implementing epidemiological data collection instruments and systems
    Exceptional analytical skills, with the capacity to process scientific and medical data
    Proficiency in manipulating and analyzing large, complex datasets
    Proficiency in statistical tools including Stata, SPSS, SQL, advanced Excel, among other
     more specialized applications
    Capability to classify data issues, present problems, and implement solutions
    Familiarity with public health, health care, and socio-demographic data sources
    Analyzing incidence and prevalence rates of disease according to subgroups and risk factors
    Development of analytic strategies and statistical analysis plans
    Conducting literature reviews and weight of evidence analyses
    Understanding of and experience implementing laboratory and clinical protocols
    Knowledge of and experience with a wide range of cellular and molecular methodologies
     utilized in in vitro and in vivo studies
    Excellent written and verbal communication skills; proven ability to interface with
     stakeholders and resolve doubts, queries and issues related to study design, data collection or
     integrity, and statistical analyses
    Exceptional ability to summarize and present results clearly and concisely, including
     preparation of models, charts, tables, pie diagrams, and graphics to present scientific data in
     easy to understand formats
    Expert in communicating research goals, approach, results, and implications to a broad array
     of clients and stakeholders, including governmental agencies, corporate management teams,
     academic faculty, the legal profession, and the lay public
    Project Management, including top-level oversight of complex, multi-site research studies
    Strategic planning, needs assessment, and program design



  Memberships and Appointments

  American College of Epidemiology
  American Public Health Association
  International Society for Pharmacoepidemiology
  International Society for Pharmacoeconomics and Outcomes Research
  International Society for Environmental Epidemiology
  Maryland Public Health Association




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  Patents
  “Antimicrobial Compositions” Publication Number: 20120121723, Publication date: 05/17/2012

  “Antimicrobial compositions” Publication Number: 20090312279, Publication date: 12/17/2009

  “Antimicrobial compositions” Publication Number: 20080194518, Publication date: 08/14/2008

  “Antimicrobial compositions” Publication Number: 20070258996, Publication date: 11/08/2007




  Peer Review

  Reviewer for Birth Defects Research
  Reviewer for Journal of Women’s Health
  Reviewer for National Eye Institute (NIH)




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 Selected Federal Research Support


      Years       Funding
                                                   Project Title                            Role
     Funded     Organization

                   CDC         National Study to Explore Early Development
    Jan 2018-                                                                          Senior Advisor,
                               (SEED) [National Center for Birth Defects and
    Present                                                                             Epidemiology
                               Developmental Disabilities]

                   CDC         Rigorous Evaluation of Health Equity Strategies to
                               Address Heart Disease and Stroke Prevention             Senior Subject
    2017-
                               [National Center for Chronic Disease Prevention and     Matter Expert,
    Present
                               Health Promotion]                                       Epidemiology

    2015-          CDC         Assess the Cost-Effectiveness of Hypertension               Senior
    2017                       Management Strategies in Persons with Chronic           Epidemiologist
                               Kidney Disease [National Center for Chronic
                               Disease Prevention and Health Promotion]

    2016           CDC         Qualitative Evaluation of the CDC’s Prevention          Senior Advisor
                               Research Center Program Network [National Center
                               for Chronic Disease Prevention and Health
                               Promotion]

    2015-          CDC         Design and Preparation for a National Study of the      Project Director
    2016                       Prevalence of Female Genital Mutilation/Cutting
                               (FGM/C) in the United States [National Center for
                               Chronic Disease Prevention and Health Promotion]

    2011-          NIH         Comprehensive Needs Assessment of the Hazardous         Project Director
    2012                       Substance Databank

    2009-          CDC         Evaluation of National Surveillance Systems:            Epidemiologist
    2010                       Detection and Monitoring of Disparities in Vision           Lead
                               Health and Disability [National Center for Chronic
                               Disease Prevention and Health Promotion]




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                                         Journal Articles

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  D, Santhosh L, Weissbecker K, Woo J, Zambelli-Weiner A, Zhang J, Naiman DQ, Malley J,
  Bailey-Wilson JE. “ Importance Sampling Method of Correction for Multiple Testing in
  Affected Sib-pair Linkage Analysis.” BMC Genet. 2003 Dec 31;4 Suppl 1:S73.

  Barnes KC, Caraballo L, Muñoz M, Zambelli-Weiner A, Ehrlich E, Burki M, Jimenez S,
  Mathias RA, Deindl P, Nickel R, Wills-Karp M. “A Novel Promoter Polymorphism in the
  Gene Encoding Complement Component 5 Receptor 1 (C5AR) on Chromosome 19q13.3 is
  Not Associated with Asthma and Atopy in Three Independent Populations.” Clin Exp Allergy.
  2004
  May;34(5):736-44.

  Ye SQ, Simon BA, Maloney JP, Zambelli-Weiner A, Gao L, Grant A, Easley RB, McVerry
  BJ, Tuder RM, Standiford T, Brower R, Barnes KC, Garcia JG. “Pre-B-cell Colony
  Enhancing Factor as a Potential Novel Biomarker in Acute Lung Injury.” Am J Respir Crit
  Care Med. 2005
  Feb 15;171(4):361-70

  Zambelli-Weiner A, Ehrlich E, Stockton ML, Grant AV, Zhang S, Levett PN, Beaty TH,
  Barnes KC. “Evaluation of the CD14/-260 polymorphism and house dust endotoxin exposure
  in
  the Barbados Asthma Genetics Study.” J Allergy Clin Immunol. 2005 Jun;115(6):1203-9.

  Barnes KC, Grant AV, Baltadzhieva D, Zhang S, Berg T, Shao L, Zambelli-Weiner A,
  Anderson W, Nelsen A, Pillai S, Yarnall DP, Dienger K, Ingersoll RG, Scott AF, Fallin
  MD, Mathias RA, Beaty TH, Garcia JG, Wills-Karp M. “Variants in the gene encoding C3
  are associated with asthma and related phenotypes among African Caribbean families.”
  Genes Immun. 2006 Jan;7(1):27-35.

  Barnes KC, Grant A, Gao P, Baltadjieva D, Berg T, Chi P, Zhang S, Zambelli-Weiner A,
  Ehrlich E, Zardkoohi O, Brummet ME, Stockton M, Watkins T, Gao L, Gittens M, Wills-
  Karp M, Cheadle C, Beck LA, Beaty TH, Becker KG, Garcia JG, Mathias RA.
  “Polymorphisms in the novel gene acyloxyacyl hydroxylase (AOAH) are associated with
  asthma and associated phenotypes.” J Allergy Clin Immunol. 2006 Jul;118(1):70-77.

  Arnold JW, deLaubenfels E, Zambelli-Weiner A. “Quantitative assessment of hard surface
  disinfection activity against the food-borne pathogen, Listeria monocytogenes.” The Journal
  of AOAC International. 2006 Nov-Dec;89(6):1617-21.

  Dominici F, Kramer S, Zambelli-Weiner A. “Risk of neuroblastoma associated with
  carcinogens from a munitions factory: A toxic tort litigation case.” Law, Probability and
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  EP, Hansen B. Postarthroscopic Glenohumeral Chondrolysis Revisited. Am J Sports Med.
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  38(7): NP1-NP2.

  Zambelli-Weiner A, Crews JE, Friedman DS. Disparities in Adult Vision Health in the United
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  Harness JK, Davies K, Via C, Brooks E, Zambelli-Weiner A, Shah C, Vincini F. Meta-
  Analysis of Local Recurrence of Invasive Breast Cancer after Electron Intraoperative
  Radiotherapy. Annals of Surgical Oncology (2018): 1-11.

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                                                Published
                                                 Reports

  Centers for Disease Control and Prevention. Vision Health Initiative. “Building a Basis
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  in the United States.” http://www.cdc.gov/visionhealth/pdf/surveillance_background.pdf
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                                               Posters and
                                              Presentations


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  Exposure and Risk of Structural Birth Defects, Platform presentation,
  58th Teratology Society Annual Meeting, 2018, Clearwater, Florida.

  Zambelli-Weiner A, Via C, Kirby RS, Yuen M, Weiner D. Early Pregnancy ondansetron
  exposure is associated with increased risk of structural birth defects in offspring in a large, US
  population sample. Poster presentation, 2018 International Society for Pharmacoeconomics
  and Outcomes Research (ISPOR) International Conference, Baltimore, MD.*Semi-Finalist for
  Research Poster Presentation Award.

  Zambelli-Weiner A, Via C, Yuen M, Weiner D. Evaluating the relationship between in-utero
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  for Pharmacoeconomics and Outcomes Research (ISPOR) International Conference,
  Baltimore, MD. *Semi-Finalist for Research Poster Presentation Award.

  Zambelli-Weiner A, Via C, Yuen M, Weiner D, Bauserman R. Difficulty of measuring dose
  response due to unreliability of days supply in administrative claims data. Poster presentation,
  2018 International Society for Pharmacoeconomics and Outcomes Research (ISPOR)
  International Conference, Baltimore, MD.


  Fishbein E, Brooks EA, Piehl 2, Blaivas M, Zambelli-Weiner A. Understanding sepsis
  recognition and management in emergency room settings to improve patient outcomes. Poster
  presentation, 2018 International Society for Pharmacoeconomics and Outcomes Research
  (ISPOR) International Conference, Baltimore, MD.

  April Zambelli-Weiner, Christina Via. Meta-analysis of Isotretinoin Use and Risk of
  Ulcerative Colitis. 2017. Poster Presentation at the 2017 American Public Health Associated,
  Atlanta, Georgia.

  Kalatu Davies, Jennifer Judy, April Zambelli-Weiner, Christina Via, Agnieszka Roman,
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  cancer after election intraoperative radiotherapy (IORT). Oral Presentation, 2017 American
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  Matt Yuen, Celena Kinsey, and April Zambelli-Weiner. Hydraulic Fracturing and
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  Georgia.

  Eliza Fishbein, Alisha Gray, Robert Bauserman, Jeff Elliot, April Zambelli-Weiner.
  Women’s experiences with NVP and anti-emetic usage: A formative research study. Poster
  Presentation, 2017 American Public Health Associated, Atlanta, Georgia.

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  David Toub. Development of a scaled composite endpoint to measure the
  multidimensional impact of new uterine fibroid treatments. Oral Presentation, 2017
  American Public Health Associated, Atlanta, Georgia.

  Alisha Gray, Eliza Fishbein, Naima Abdullahi, Jill Fromewick, April Zambelli-Weiner,
  Ghenet Besera, Howard Goldberg, Mary Goodwin, Thomas Clark. Female genital
  mutilation/cutting and the paradigm experiences of refugee patients. Caucus on refugee and
  immigrant health. 2017. Poster Presentation at the 2017 American Public Health Associated,
  Atlanta, Georgia.

  Via C, Zambelli-Weiner A, Bauserman R, Brooks E. Qualitative research identifies
  unexpected provider perceptions about noncompliance in cataract patients. Oral presentation,


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  American Public Health Association, November 2017, Atlanta, Georgia.

  Abdullahi N, Fromewick J, Fishbein E, Gray A, Zambelli-Weiner A, Besera G, Goldberg H,
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  Georgia.

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  September 2011, Barcelona, Spain.

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  TX.

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  Poster Presentation, American Society for Microbiology, 4th Conference on Biofilms, March
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  Zambelli-Weiner A, Stockton M, Ehrlich E, Whitmer M, Lewis D, Olenchock S, Barnes
  KC. Poster Presentation, “House Dust Endotoxin Exposure Mitigates Asthma Severity in a
  Tropical Environment.” American Academy of Asthma, Allergy & Immunology, March

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  Beaty TH, Garcia JGN, Barnes KC. Poster Presentation, “Association Between Variants in
  the Gene Encoding Myosin Light Chain Kinase (MLCK) and Asthma and Atopy.” American
  Academy of Asthma, Allergy & Immunology, March 2004, San Francisco, California.

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  Hyrdoxylase (AOAH) are Associated with Total IgE.” American Academy of Asthma,
  Allergy & Immunology, March 2004, San Francisco, California.

  Zambelli-Weiner A, Barnes KC. “The CD14-159 SNP in a Population of African Descent.”
  Oral Presentation, “From Genome to Disease: A Symposium of High-Throughput Biology.”
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  Zambelli-Weiner A, Maloney J, Gao L, Ye S, Garcia JGN, Barnes KC. “Association
  between the CD14-159 Polymorphism and Acute Lung Injury” Poster Presentation, 99th
  Annual Conference of the American Thoracic Society, May 2003, Seattle, Washington.

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  K. “A Novel Single Nucleotide Polymorphism in Complement Component 5 Receptor 1
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  Population.” Poster Presentation, Johns Hopkins University Department of Medicine
  Research Retreat, April
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  Ehrlich E, Zambelli-Weiner A, Stockton ML, Barnes KC. “The CD14(C-159T) Polymorphism
  and Allergic Disease in African American Families.” Oral Presentation, 60th Anniversary
  Meeting of the American Academy of Asthma, Allergy, and Immunology, March 2003, Denver,
  Colorado.

  Stockton ML, Zambelli-Weiner A, Rowell C, Levett PN, Naidu RP, Barnes KC. “High
  Circulating Soluble CD14 (sCD14) Levels are not Associated with Asthma or Atopy in an
  Afro- Caribbean Population from Barbados.” Poster Presentation, 60 th Anniversary Meeting
  of the American Academy of Asthma, Allergy, and Immunology, March 2003, Denver,
  Colorado.

  Zambelli-Weiner A, Farkas DH, Chan V, Mathias RA, Casolaro V, Barnes KC. “The
  Transcriptional Factor LBP-1C/CP2/LSF Gene on Chromosome 12q13 is not Associated
  with Asthma in Two Independent Populations.” Poster presentation, 52nd Annual Meeting
  of the American Society of Human Genetics, October 2002, Baltimore, Maryland.

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  Polymorphism is not Associated with Circulating sCD14 nor Total Serum IgE in an
  Asthmatic Population of African Descent.” Poster presentation, 58th Annual Meeting of the

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  responses to major allergens of cockroach and antigens from extracellular parasites in
  individuals with cockroach sensitization.” Poster presentation, 57 th Annual Meeting of the
  American Academy of Asthma, Allergy, and Immunology, March 2001, New Orleans,
  Louisiana.




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 12 Appendix D. List of Prior Testimony and Compensation


 April Zambelli-Weiner, List of Prior Testimony

  2016     Yasmin and Yaz (Drospirenone) Marketing, Sales Practices and Relevant Products
           Liability Litigation, MDL 2100. United States District Court, Southern District of
           Illinois.

  2016     Accutane® Multi-County Litigation (MCL), Superior Court of New Jersey, Division:
           Atlantic County; Civil Action No 271

  2015     Mirena® IUD Products Liability Litigation, MDL 2434. United States District
           Court, Southern District of New York.

  2014     Richard Thomas Walsh, Executor of the Estate of Thomas J. Walsh vs. BASF
           Corporation et al. US District Court for the District of Pennsylvania, Civil Action
           No. GD 10-018588.

  2012     Vioxx Products Liability Litigation, MDL Docket No. 1657. US District Court for
           the Eastern District of Louisiana.



 Compensation Schedule

                           PROFESSIONAL RATE SCHEDULE

                             JANUARY – DECEMBER 2018
                          LABOR CATEGORY                                     HOURLY RATES
  Research Assistant                                                        $150.00 - $195.00
  Scientist                                                                 $175.00 - $210.00
  Public Health Analyst                                                     $175.00 - $195.00
  Senior Scientist                                                          $225.00 - $300.00
  Statistician                                                              $200.00 - $225.00
  Subject Matter Expert – Consulting | Testifying                           $375.00 - $550.00
                       DEPOSITION or TRIAL
  Expert Testimony (daily or any portion thereof)                           $7,500.00
  Expert Testimony (daily or any portion thereof) with Travel               $8,500.00
  Travel Expenses – transportation, lodging, meals, incidentals             Actual Incurred




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